                          Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 1 of 60 Page ID #:1



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                        6
                                Attorneys for Defendant
                        7       FIRSTGROUP AMERICA, INC.

                        8
                                                                   UNITED STATES DISTRICT COURT
                        9
                                                                  CENTRAL DISTRICT OF CALIFORNIA
                     10
                               PAULA ROGERS, an individual,                         Case No.
                     11
                                                     Plaintiff,                     NOTICE OF REMOVAL OF CIVIL
                     12                                                             ACTION TO FEDERAL COURT
                                       v.
                     13
                               FIRSTGROUP AMERICA, INC., a
                     14        corporate entity form unknown; and DOES              Action filed in State Court: January 9, 2020
                               1-50, inclusive,                                     Orange County Superior Court
                     15                                                             Case No. 30-2020-01123040-CU-WT-CJC
                                                     Defendants.
                     16

                     17

                     18                         TO THE CLERK OF COURT, TO THE PARTIES, AND TO THE PARTIES’

                     19        COUNSEL OF RECORD, PLEASE TAKE NOTICE THAT Defendant FIRSTGROUP

                     20        AMERICA, INC. (“FGA” or “Defendant”), by and through the undersigned counsel, and pursuant to

                     21        28 U.S.C. §§ 1332, 1441, and 1446, hereby gives notice of removal of this lawsuit from the Superior

                     22        Court of the State of California, County of Orange, to the United States District Court for the Central

                     23        District of California (the “Notice of Removal”). In support of its Notice of Removal, Defendant

                     24        respectfully submits to this Honorable Court the following information:

                     25                                   STATEMENT OF JURISDICTION (DIVERSITY)

                     26                         1.       Removal jurisdiction exists because this Court has original jurisdiction over

                     27        Plaintiff PAULA ROGERS’ (“Plaintiff”) Complaint pursuant to 28 U.S.C. § 1332, and which may be

                     28        removed to this Court pursuant to 28 U.S.C. § 1441, as it is a civil action in which neither Plaintiff nor
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                        1      any Defendant are citizens of the same state and in which the amount in controversy exceeds $75,000,

                        2      exclusive of interest and costs (Diversity Jurisdiction). Here, Plaintiff was a citizen of California at

                        3      the time the Complaint was filed in the Orange County Superior Court and is not currently a citizen

                        4      of Delaware or Ohio. At the time Plaintiff’s Complaint was filed, and also as of the time of this

                        5      Removal, Defendant is a Delaware corporation with its principal place of business in Cincinnati, Ohio.

                        6      Further, the amount in controversy exceeds $75,000 in that Plaintiff’s Complaint seeks damages of

                        7      “no less than three hundred thousand dollars.” See Complaint, pg. 22:3-5. As set forth herein, this case

                        8      meets all of the requirements for removal, is timely, and is properly removed by the filing of this

                        9      Notice.

                     10                                                  STATE COURT ACTION

                     11                         2.       On or about January 9, 2020, Plaintiff filed this action in the Orange County

                     12        Superior Court, titled Paula Rogers v. FirstGroup America, Inc., a corporation entity form unknown;

                     13        and DOES 1-50, inclusive, Case Number 30-2020-01123040-CU-WT-CJC (the “Complaint”), which

                     14        is attached hereto as Exhibit A. The Complaint was served on Defendant on December 1, 2020. See

                     15        concurrently-filed Declaration of Ryan L. Eddings (“Eddings Decl.”), at ¶ 2.

                     16                         3.       Plaintiff’s Complaint purports to assert ten causes of action against Defendant

                     17        for: (i) discrimination in violation of California Government Code § 12940, et seq.; (ii) age

                     18        discrimination in violation of California Government Code § 12940, et seq.; (iii) failure to

                     19        accommodate in violation of California Government Code § 12940(m); (iv) failure to engage in

                     20        interactive process in violation of California Government Code § 12940(n); (v) failure to prevent

                     21        discrimination in violation of California Government Code § 12940(k); (vi) retaliation in violation of

                     22        California Government Code § 12940(h); (vii) wrongful termination; (viii) failure to provide

                     23        employment records; (ix) meal and rest break violations; and (x) violation of California Business and

                     24        Professions Code § 17200, et seq.

                     25                         4.       Defendant filed a General Denial and Affirmative Defenses to Plaintiff’s

                     26        Complaint on or about December 28, 2020. A true and correct copy of the General Denial and

                     27        Affirmative Defenses to Plaintiff’s Complaint is attached hereto as Exhibit B.

                     28                         5.       The remaining submissions in this action remaining on file with the Orange
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                        1      County Superior Court are attached hereto as Exhibit C.

                        2                                    TIMELINESS OF NOTICE OF REMOVAL

                        3                       6.       An action may be removed from state court by filing a notice of removal,

                        4      together with a copy of all process, pleadings, and orders served on the defendant, within 30 days of

                        5      Defendant receiving an “initial pleading setting forth the claim for relief upon which such action or

                        6      proceeding is based.” 28 U.S.C. § 1446(b). Here, Plaintiff served her Complaint on December 1, 2020.

                        7      Eddings Decl., at ¶ 2. Therefore, Defendant can remove this action up to December 31, 2020. See FED.

                        8      R. CIV. P. 6(a) (explaining that “the last day of the period shall be included, “but if the last day is a

                        9      Saturday, Sunday, or legal holiday, the period continues to run until the end of the next day that is not

                     10        a Saturday, Sunday, or legal holiday.”).

                     11                                                             VENUE

                     12                         7.       Pursuant to 28 U.S.C. § 1391(a) and 28 U.S.C. § 1441, venue is proper in the

                     13        United States District Court for the Central District of California insofar as Defendant conducts

                     14        business within Orange County, California, which is where Plaintiff was employed, where the instant

                     15        action was originally filed, and which is within this Court’s jurisdiction.

                     16                                                  NOTICE TO PLAINTIFF

                     17                         8.       As required by 28 U.S.C. § 1446(d), Defendant provided written notice of the

                     18        filing of this Notice of Removal to Plaintiff. See Defendant’s Notice to Plaintiff of Removal to Federal

                     19        Court, attached hereto as Exhibit D.

                     20                                         NOTICE TO THE SUPERIOR COURT

                     21                         9.       Defendant also filed its Notice of Removal with the Clerk of the Orange County

                     22        Superior Court, attached hereto as Exhibit E.

                     23                         FACTS AND LAW SUPPORTING DIVERSITY JURISDICTION

                     24                         10.      This action is a civil action of which this Court has original jurisdiction under

                     25        28 U.S.C. § 1332, and is one which may be removed to this Court by Defendant pursuant to the

                     26        provisions of 28 U.S.C. § 1441(b). Specifically, this is a civil action between citizens of different states

                     27        and the matter in controversy exceeds the sum of $75,000, exclusive of interest and costs because

                     28        Plaintiff claims that she is entitled to an award in excess of $75,000 as result of Defendant’s alleged
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                        1      conduct.

                        2              A.       Citizenship of Parties

                        3                       11.      Defendant is informed and believes that Plaintiff is a citizen and resident of the

                        4      State of California. See Complaint, ¶ 9 (“[A]ll of the claims and causes of action alleged herein

                        5      occurred and accrued in the County of Orange, State of California.”) Defendant is informed and

                        6      believes and thereon alleges that at the time Plaintiff’s Complaint was filed, and also as of the time of

                        7      this Removal, Plaintiff is not a citizen of Ohio or Delaware.

                        8                       12.      Defendant is a corporation duly organized and existing under the laws of the

                        9      State of Delaware, and it maintains its principal place of business in Cincinnati, Ohio. See Eddings

                     10        Decl., ¶ 5; see also concurrently-filed California Secretary of State’s Corporation – Statement of

                     11        Information, attached hereto as Exhibit F. Defendant is a citizen of Delaware and Ohio. Defendant is

                     12        not a citizen of California.

                     13                B.       Amount in Controversy

                     14                         13.      “[W]hen a complaint filed in state court alleges on its face an amount in

                     15        controversy sufficient to meet the federal jurisdictional threshold, such requirement is presumptively

                     16        satisfied unless it appears to a “legal certainty” that the plaintiff cannot actually recover that amount.”

                     17        Guglielmino v. McKee Foods Corp., 506 F.3d 696, 699 (9th Cir. 2007) (citing to Sanchez v.

                     18        Monumental Life Ins. Co., 102 F.3d 398, 402 (9th Cir. 1996); see also 28 U.S.C. § 1446(c)(2)

                     19        (generally, “the sum demanded in good faith in the initial pleading shall be deemed to be the amount

                     20        in controversy.”) In measuring the amount in controversy, the Court must assume that the allegations

                     21        of the Complaint are true and that a jury will return a verdict in favor of Plaintiff on all claims asserted

                     22        in the Complaint. Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199 F.Supp.2d 1001 (C.D.

                     23        Cal. 2002). Economic damages, non-economic damages, general damages, attorneys’ fees and costs,

                     24        and punitive damages all are included in determining the amount in controversy. See Galt G/S/ v. JSS

                     25        Scandinavia, 142 F.3d 1150, 1155-1156 (9th Cir. 1998) (prayer for attorneys’ fees included in

                     26        determining the amount in controversy where potentially recoverable by statute); Gonzalez v. CarMax

                     27        Auto Superstores, LLC, 840 F.3d 644, 648 (9th Cir. 2016) (stating that compensatory and punitive

                     28        damages are included in determining the amount in controversy). Moreover, the removing defendant
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                        1      is only required to establish that the plaintiff’s total damages “more likely than not” exceed the

                        2      jurisdictional amount. Sanchez, supra, 102 F.3d at 399.

                        3                       14.      Here, Defendant reasonably and in good faith believes that the amount put in

                        4      controversy herein exceeds the jurisdictional requirement of 28 U.S.C. § 1332(a). Specifically,

                        5      Plaintiff prays for the following jurisdictional relief, which is far in excess of the jurisdictional

                        6      requirement: “For all actual, consequential, and incidental damages, including but not limited to loss

                        7      of earnings and employee benefits, according to proof, but no less than three hundred thousand

                        8      dollars.” See Complaint, pg. 22:3-5.

                        9                       15.      Should Plaintiff prevail on her claims for violations of the California

                     10        Government Code, the California Labor Code, the California Business and Professions Code, and

                     11        wrongful termination in violation of public policy, she would be entitled to recover the amount she

                     12        would have earned up to the present date, including benefits or pay increases. See Wise v. Southern

                     13        Pac. Co., 1 Cal.3d 600, 607 (1970). Here, Plaintiff alleges that she was employed by Defendant on or

                     14        about February 1, 2016 through to her termination on or about January 30, 2019. Complaint, ¶¶ 10,

                     15        15. Plaintiff alleges that Defendant employed her as a Bus Driver. Complaint, ¶ 10. Plaintiff’s rate of

                     16        pay was $15.30 per hour. Id. Plaintiff seeks lost income from the date of her termination on or about

                     17        January 30, 2019, through to the present and into the future. See Complaint, ¶¶ 27, 44, 57, 72, 84, 93,

                     18        104 (e.g., “Plaintiff has suffered the loss of wages, salary, benefits, the potential for advancement, and

                     19        additional amounts of money Plaintiff would have received but for Defendant’s discriminatory

                     20        conduct, all in an amount subject to proof at the time of trial, but believed to be no less than three

                     21        hundred thousand dollars.”). As of the date of this Notice of Removal, it has been approximately 100

                     22        weeks since Plaintiff’s separation from employment with Defendant. Complaint, ¶¶ 10, 15 (“On or

                     23        about February 1, 2016, Defendant hired Plaintiff as a Bus Driver . . . [O]n January 30, 2019,

                     24        Defendant terminated Plaintiff.”). Although Plaintiff’s Complaint does not specify the number of

                     25        hours she worked on a weekly basis, for purposes of this removal, Defendant assumes Plaintiff alleges

                     26        that she was a full-time employee and worked approximately 40 hours per week. Given Plaintiff’s

                     27        rate of pay, Plaintiff alleges to have suffered at least $61,200 in damages in the form of lost income

                     28        alone as of the date of this filing ($15.30 hourly wage x. 40 hours x 100 weeks), with damages
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                        1      continuing into the future through trial at the rate of $612 per week ($15.30 hourly wage x 40 hours).

                        2                       16.      Likewise, Plaintiff seeks unpaid meal and rest period premiums. Plaintiff

                        3      alleges that “Defendants failed to comply with the rest and meal period requirements established by

                        4      Labor Code §226.7, Labor Code §512, Labor Code §516 and Section 11 of the IWC Wage Order(s).”

                        5      See Complaint, ¶ 127. It is presently unclear how many meal and rest period Plaintiff alleges she did

                        6      not receive. Although Plaintiff’s Complaint reasonably can be read to allege that she never received a

                        7      meal or rest break, for purposes of this removal, Defendant assumes Plaintiff alleges that Defendant

                        8      failed to provide one meal period and one rest period per week. Plaintiff’s meal and rest period claim

                        9      is also subject to a three-year statute of limitations, which runs from January 9, 2017 through to

                     10        January 9, 2020. There are approximately 107 weeks between January 9, 2017 and January 30, 2019.

                     11        Based on these assumptions, there would be approximately 107 missed meal periods and 107 missed

                     12        rest periods during the statutory period. The penalty for a missed meal or rest period is one hour of

                     13        pay at the employee’s regular rate of pay. See Cal. Lab. Code, § 226(c). At Plaintiff’s hourly rate of

                     14        $15.30, 107 meal period premiums translate to $1,637.10 in controversy over Plaintiff’s claim for meal

                     15        periods. The same amount in at issue for the missed rest periods. As a result, Plaintiff’s claims for

                     16        failure to provide meal and rest periods adds $3,274.20 to the amount in controversy.

                     17                         17.      Plaintiff also seeks penalties for Defendant’s alleged failure to provide Plaintiff

                     18        with her employment records and/or inspection rights. See Complaint, ¶ 111. California Labor Code

                     19        § 226(f) provides that an employee may recover $750 in penalty from the employer if the employer

                     20        fails to permit the employee “to inspect or receive a copy of records within the time set forth in

                     21        subdivision (c).” Thus, Plaintiff’s claim for failure to provide employment records and/or inspection

                     22        rights adds $750.00 to the amount in controversy.

                     23                         18.      Plaintiff also seeks damages for the emotional distress. Complaint, ¶¶ 28, 45,

                     24        58, 73, 84, 86, 93, 104 (e.g., “Plaintiff has also suffered and continues to suffer emotional distress and

                     25        anguish, humiliation, anxiety, and medical expenses all to her damage in an amount subject to proof

                     26        at trial.”). Plaintiff’s claim for severe emotional distress damages further augments the foregoing

                     27        amounts and demonstrates that the jurisdictional prerequisite for removal of this action is met. See

                     28        Luckett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th Cir. 1999) (claims for pain, suffering and
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                        1      humiliation properly may be factored into the jurisdictional analysis for purposes of removal).

                        2      Although Defendant disputes that Plaintiff is entitled to any such award, plaintiffs in employment

                        3      cases have been awarded substantial sums for emotional distress. See, e.g., Swinton v. Potomac Corp.,

                        4      270 F.3d 794 (9th Cir. 2001), cert. denied, 535 U.S. 1018 (2002) (award of $30,000); Dotson v. United

                        5      States, 87 F.3d 682 (5th Cir. 1996) (award of $25,000). In Kroske v. U.S. Bank Corp., 432 F.3d 976

                        6      (9th Cir. 2005), cert. denied, 127 S.Ct. 157 (2006), the Ninth Circuit upheld the lower court’s finding

                        7      that the amount in controversy had been established. In reaching its holding, the Ninth Circuit reasoned

                        8      that the plaintiff’s “emotional distress damages would add at least additional $25,000 to her claim”

                        9      where she had only $55,000 in lost wages, thus satisfying the amount in controversy requirement

                     10        “even without including a potential award of attorney’s fees.” Id. at 980. A similar result is compelled

                     11        here, as Plaintiff expressly seeks damages for emotional distress and lost wages are at issue. Thus,

                     12        based on Kroske and other analogous cases, the emotional distress component of Plaintiff’s claims is

                     13        likely to add at least $25,000 to the amount in controversy, if not more. The foregoing, when taken

                     14        together with Plaintiff’s claims for lost wages, punitive and statutory damages, and attorney’s fees,

                     15        establishes that the plaintiff’s total damages more likely than not will exceed the jurisdictional amount

                     16        of $75,000.

                     17                         19.      Additionally, Plaintiff seeks an award of attorneys’ fees in connection with her

                     18        claims for violations of various provisions of the California Labor Code, the California Government

                     19        Code, and the California Business and Professions Code. Complaint, ¶¶ 35, 50, 65, 80, 88, 95, 112,

                     20        114 (e.g., “Plaintiff also continues to incur attorneys’ fees and legal expenses in an amount according

                     21        to proof at the trial which fees and expenses are recoverable pursuant to Gov’t Code § 12900 et seq.”).

                     22        Attorneys’ fees are also included in the amount in controversy calculation when the underlying claims

                     23        permit recovery of attorneys’ fees. Galt G/S, supra, 142 F.3d at 1156. While Plaintiff’s attorneys’ fees

                     24        cannot be calculated precisely, it is reasonable to assume that they could exceed a damages award.

                     25        Simmons v. PCR Technology, 209 F.Supp.2d 1029, 1035 (N.D. Cal. 2002) (holding that where

                     26        attorneys’ fees are “recoverable by statute,” fees reasonably anticipated over the life of the litigation

                     27        are included in the amount in controversy analysis); Fritsch v. Swift Transportation Company of

                     28        Arizona, LLC., 2018 WL 3748667, at *2 (9th Cir. 2018) (in deciding amount in controversy issue,
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                        1      court may estimate the amount of reasonable attorneys’ fees like to be recovered by plaintiff if she

                        2      were to prevail). Moreover, past cases indicate that the award of attorneys’ fees alone could reach or

                        3      exceed the jurisdictional amount of $75,000. See Mitchell v. GigOptix, LLC, H036131, at*30 (Cal. Ct.

                        4      App. Nov. 29, 2011) (noting the trial court’s attorneys’ fee award of $45,017.15, representing one-

                        5      fourth of the total fees, for just the claims of unpaid wages, unpaid vacation, and unpaid meal breaks).

                        6                       20.      The amount in controversy also includes punitive damages unless (1) punitive

                        7      damages are not recoverable as a matter of state law, and (2) it is a legal certainty that plaintiff would

                        8      not be entitled to recover the jurisdictional amount. See Anthony v. Security Pacific Financial Services,

                        9      75 F.3d 311, 315 (7th Cir. 1996); see also St. Paul Reinsurance Co., Ltd. v. Greenberg, 134 F.3d 1250,

                     10        1253-1254 (5th Cir. 1998). Here, Plaintiff alleges that she is entitled to punitive damages for

                     11        Defendant’s willful and malicious conduct, but does not provide a total amount of the alleged punitive

                     12        damages sought. See Complaint, ¶¶35, 64, 79, 87, 94, 105. With respect to punitive damages,

                     13        California law does not provide any specific monetary limit on the amount of punitive damages which

                     14        may be awarded under Civil Code section 3294, and the proper amount of punitive damages under

                     15        California law is based on the reprehensibility of a defendant’s misdeeds, the ratio between

                     16        compensatory and punitive damages, and the ratio between damages and a defendant’s net worth.

                     17        Boyle v. Lorimar Productions, Inc., 13 F.3d 1357 (9th Cir. 1994). Although Defendant vigorously

                     18        denies Plaintiff’s allegations, if Plaintiff were to prevail on her claims, the punitive damages alone

                     19        could exceed the jurisdictional minimum.

                     20                         21.      Thus, while Defendant’s position is that Plaintiff is not entitled to damages in

                     21        any amount, the total amount in controversy appears to be, at a minimum, well over $75,000 as of the

                     22        date of this Notice of Removal. Plaintiff herself alleges that she seeks at least $300,000 in damages.

                     23        Further, a calculation of the potential amount in controversy establishes that it is at least $61,200 in

                     24        lost income to date, $25,000 in emotional distress damages, $1,637.10 in meal period premiums,

                     25        $1,637.10 in rest period premiums, $750 in penalty for Defendant’s alleged failure to provide Plaintiff

                     26        with her employment records and/or inspection rights, other applicable statutory damages as

                     27        requested, and a possible award of punitive damages. In addition, Plaintiff’s request for attorney’s fees

                     28        and the addition of any prejudgment and post-judgment interest make it more likely than not that the
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                        1      total amount in controversy exceeds the jurisdictional amount of $75,000.

                        2                         22.    Consequently, the requirements of 28 U.S.C. § 1332(a) have been met in that

                        3      the amount in controversy exceeds $75,000.00, exclusive of interest and costs, and because this is a

                        4      civil action between citizens of different states.

                        5                         WHEREFORE, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant removes

                        6      this case from the Superior Court of the State of California, County of Orange, to the United States

                        7      Court for the Central District of California.

                        8
                        9      Dated: December 31, 2020
                     10

                     11                                                              RYAN L. EDDINGS
                                                                                     HYUN A. LEE
                     12                                                              LITTLER MENDELSON, P.C.
                                                                                     Attorneys for Defendant
                     13                                                              FIRSTGROUP AMERICA, INC.
                     14        4813-2687-3556.1

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                     EXHIBIT “A”
                            Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 11 of 60 Page ID #:11
                 Electronically Filed by Superior Court of California, County of Orange, 01/09/2020 05:47:47 PM.
      30-202 01123040-CU-WT-CJC - ROA #2 - DAVID H. YAMASAKI, Clerk of the Court By Robert Renison, Deputy lerk.



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                             6   Attorneys for Plaintiff
                             7

                             8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

                             9                               FOR THE COUNTY OF ORANGE
                            10
                                 PAULA ROGERS,an individual;           Case No.:
                            11                                         Assigned for all purposes to the
                                               Plaintiff,
                            12
bmaili & 5a5ociate5, V.C.




                            13          v.                             COMPLAINT:
                                                                         1. Discrimination in Violation of Gov. Code
                            14   FIRSTGROUP AMERICA,INC., a                 §12940 et seq.
                                 corporate entity form unknown; and      2. Age Discrimination in Violation of Gov.
                            15   DOES 1-50, inclusive,                      Code §12940 et seq.
                            16                                           3. Failure to Accommodate in Violation of Gov.
                                               Defendants.                  Code § 12940(m)
                            17                                           4. Failure to Engage in Interactive Process in
                                                                            Violation of Gov. Code § 12940(n)
                            18                                           5. Failure to Prevent Discrimination in
                            19                                              Violation of Gov. Code § 12940(k)
                                                                         6. Retaliation in Violation of Gov. Code
                            20                                              §12940(h)
                                                                         7. Wrongful Termination
                            21
                                                                         8. Meal and Rest Break Violations
                            22                                           9. Violation of Business & Professions Code
                                                                            § 17200 et seq.
                            23
                                                                                DEMAND FOR JURY TRIAL
                            24                                                  UNLIMITED JURISDICTION

                            25

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                                                                      COMPLAINT
                     Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 12 of 60 Page ID #:12




                      1   Plaintiff Paula Rogers (hereinafter "Plaintiff" and/or "Rogers") alleges as follows:
                      2                                         THE PARTIES
                      3          1.     At all times mentioned herein, and at the time the causes of action arose,
                      4   Plaintiff was and is an individual.
                      5          2.     Plaintiff is informed and believes and thereon alleges that at all times
                      6   mentioned herein, Defendant FirstGroup America, Inc. ("FGA"), is a corporate entity,
                      7   form unknown, regularly conducting business in the State of California, and specifically,
                      8   in the County of Orange. Plaintiff is further informed and believes and thereon alleges
                      9   that FGA was transacting business in the County of Orange, State of California, at the
                     10   time claims of Plaintiff arose. At all times relevant, FGA was an employer within the
                     11   meaning of Government Code §12926(d) and as such was barred from, inter alia,
                     12   harassing, discriminating or retaliating against Plaintiff in personnel, scheduling,
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                     13   employment, promotion, advancement, retention, hiring, terminating and other decisions
                     14   relating to Plaintiff's employment on the basis of age, race, physical disability or medical
                     15   condition, participation in protected activity, and other immutable characteristics.
 mumg




                     16          3.     The true names and capacities, whether individual, corporate, associate, or
                     17   otherwise, of Defendants DOES 1-50, inclusive, are currently unknown to Plaintiff,
                     18   who therefore sues said Defendants by such fictitious names. Plaintiff will seek leave to
                     19   amend this complaint to show their true names and capacities when ascertained. Plaintiff
                     20   is informed and believes and thereon alleges that each Defendant named herein as a DOE
                     21   was responsible in some manner for the occurrences and damages alleged herein.
                     22         4.      Each reference in this complaint to "Defendant" and/or "Defendants" refers
                     23   to FGA, and also refers to all Defendants sued under fictitious names, jointly and

                     24   severally.
                     25         5.      Plaintiff is informed and believes and thereon alleges that Defendants, and

                     26   each of them, are now and/or at all times mentioned in this Complaint were in some

                     27   manner legally responsible for the events, happenings, and circumstances alleged in this

                     28   Complaint.    Plaintiff is further informed and believes and thereon alleges that

                                                                  COMPLAINT

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                                  1   Defendants, and each of them, proximately subjected Plaintiff to the unlawful practices,
                                  2   wrongs, complaints, injuries and/or damages alleged in this Complaint.          Likewise,
                                  3   Defendants, and each of them are now and/or at all times mentioned in this Complaint
                                  4   were the agents, servants and/or employees of some or all other Defendants, and vice-
                                  5   versa, and in doing the things alleged in this Complaint, Defendants are now and/or at all
                                  6   times mentioned in this Complaint were acting within the course and scope of that
                                  7   agency, servitude and/or employment.
                                  8         6.      Plaintiff is informed and believes and thereon alleges that Defendants, and
                                  9   each of them, are now and/or at all times mentioned in this Complaint were members of
                                 10   and/or engaged in a joint venture, partnership and common enterprise, and were acting
                                 11   within the course and scope of, and in pursuance of said joint venture, partnership and
                                 12   common enterprise.
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                                 13           7.    Plaintiff is informed and believes and thereon alleges that Defendants, and
                                 14   each of them, at all times mentioned in this Complaint, concurred and contributed to the
                                 15   various acts and omissions of each and every one of the other Defendants in proximately
                                 16   causing the complaints, injures and/or damages alleged in this Complaint. Plaintiff is
                                 17   further informed and believes and thereon alleges that Defendants, and each of them, at
                                 18   all times mentioned in this Complaint, approved of condoned and/or otherwise ratified
                                 19   each and every one of the acts and/or omissions alleged in this Complaint. Likewise,
                                 20   Defendants, and each of them, at all times mentioned in this Complaint aided and abetted
                                 21   the acts and omissions of each and every one of the other Defendants thereby proximately
                                 22   causing the damages alleged in this Complaint.
                                 23           8.    Plaintiff is informed and believes and thereon alleges that at all actions

                                 24   alleged herein committed by Defendants were committed by managing agents of

                                 25   Defendants, or, such conduct was known by and/or ratified by managing agents of

                                 26   Defendants.

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                                                                             COMPLAINT

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                       1                               VENUE AND JURISDICTION
                       2         9.      Venue is proper in this county and this Court has jurisdiction over this
                       3   matter because Defendants operate out of Anaheim, California, and, all of the claims and
                       4   causes of action alleged herein occurred and accrued in the County of Orange, State of
                       5   California.
                       6                                FACTUAL BACKGROUND
                       7          10.    On or about February 1, 2016, Defendant hired Plaintiff as a Bus Driver.
                       8   Initially, her job duties included, but were not limited to, driving a bus. She was later
                       9   promoted to Maintenance Clerk. At which point, her job duties expanded to maintenance
                      10   work and the enforcement of company rules. Plaintiff earned an hourly wage of $15.30.
                      11          1 1.   Throughout her time employed with Defendant, Plaintiff was repeatedly
                      12   subjected to discrimination and harassment, on account of her sex, as she tried to
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                      13   complete her job duties.
                      14          12.    Upon information and belief, Defendant's employees were allowed defy
                      15   Plaintiff's instructions on the job. For instance, on numerous occasions she tried to
                      16   enforce Respondent's rules regarding clocking in and out and reported one employee,
                      17 "Carlos" for not doing so properly. In response, Carlos, with the help of Respondent's

                      18   agent, Rick Vargas ("Vargas")retaliated against her.
                      19          13.    Plaintiff complained to Defendant about the harassment and retaliation. She
                      20   also complained to her supervisor, Vargas, to express her need for support. Plaintiff told
                      21   Vargas, through sobs, that she was depressed and needed support to do her job. At one
                      22   point, she complained to a co-worker, "Lenny," that she had been experiencing
                      23   harassment from individuals at work. He responded, "You should quit, this job isn't
                      24   worth all the stress and anxiety." Though Defendant was aware of what Plaintiff's

                      25   worsening disability, Defendant did not engage with her in a good faith interactive

                      26   process, nor did they offer her accommodation.

                      27         14.     On or about October 22, 2018, Plaintiff sustained an injury to her right

                      28   ankle that required surgery. She was placed off work by her doctor from October 22,

                                                                  COMPLAINT

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                               1   2018 through March 2019. Plaintiff was not able to go to work because of her injury. In
                               2   fact, her injury was so severe that following her surgery, Plaintiff was transferred to a
                               3   rehabilitation center so that she could relearn to walk.
                               4          15.    During her medical leave, Plaintiff also consulted with a psychiatrist
                               5   because of her work-related depression. Her psychiatrist also took her off work through
                               6   August 2019. However, on January 30, 2019, Defendant terminated Plaintiff.
                               7          16.    Plaintiff is informed and believes she was terminated, in part, on the basis
                               8   of her disabilities. Plaintiff is also informed and believes that she was terminated on the
                               9   basis of her age and sex.
                              10          17.    Further, throughout Plaintiff's employment, she was not provided 10-
                              11   minute rest breaks for every 4 hours she worked.
                              12          18.    Upon information and belief, Plaintiff was discriminated against, harassed,
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                              13   retaliated against, and ultimately terminated for reporting a work-related injury, for
                              14   perceived filing/filing for workers' compensation, for requesting CFRA/FMLA leave, her
                              15   age, and for complaining about her work environment. Further, Defendant refused to
                              16   engage in a good-faith interactive process and refused to offer any accommodation.
                              17          19.    Before filing this lawsuit, Plaintiff exhausted her administrative remedies
                              18   by timely filing a complaint with the Department of Fair Employment and Housing
                              1 9 (DFEH)and receiving a right-to-sue notice, dated October 30, 2019.

                              20                                 FIRST CAUSE OF ACTION
                              21                          DISCRIMINATION IN VIOLATION OF
                              22                 CALIFORNIA GOVERNMENT CODE § 12940 ETSEQ.

                              23                                  (Against All Defendants)
                              24         20.     Plaintiff refers to all allegations contained in paragraphs 1-19, inclusive and

                              25   by such reference incorporates the same herein as though fully realleged in detail.

                              26         21.     California law, and particularly the Fair Employment and Housing Act

                              27 ("FEHA"), codified at Government Code §12900 et seq., prohibits discrimination against

                              28   persons with a physical condition or disability, which is broadly defined therein, and

                                                                           COMPLAINT

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                                  which includes even the perception that a person has a medical or mental condition
                              2   and/or physical condition or disability. FEHA further prohibits discrimination based
                              3   upon, inter alia, age, race, gender, sexual orientation, national origin, pregnancy and
                              4   other immutable characteristics.
                              5          22.     Plaintiff is a 58 year old, disabled woman as alleged above.
                              6          23.     Defendant was aware of Plaintiff's disability, as herein alleged, because
                              7   Plaintiff specifically reported said disability directly to Defendant via Defendant's
                              8   supervisors and managing agents.
                              9          24.     At all times herein alleged, Plaintiff was qualified for the position of
                             10   employment that she held with Defendant and was able to perform the essential functions
                             11   of that job.
                             12          25.     Plaintiff is informed and believes and thereon alleges that as a direct and
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                             13   proximate result of Plaintiff's disability, Defendant refused to engage Plaintiff in an
                             14   interactive process, refused to communicate with Plaintiff, refused to accommodate
                             15   Plaintiff's medical restrictions, denied Plaintiff opportunity for advancement, promotion
                             16   and the ability to earn a living, and terminated Plaintiff.
                             17          26.     Defendant's discriminatory action against Plaintiff, as alleged above,
                             18   constitutes unlawful discrimination in employment on account of Plaintiff's disability in
                             19   violation of FEHA,and particularly Gov't Code §12940(a).
                             20          27.     As a direct, foreseeable, and proximate result of Defendant's discriminatory
                             21   action against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
                             22   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
                             23   amounts of money Plaintiff would have received but for Defendants' discriminatory
                             24   conduct, all in an amount subject to proof at the time of trial, but believed to be no less

                             25   than three hundred thousand dollars.

                             26          28.     As a direct, foreseeable, and proximate result of the wrongful conduct of

                             27   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional

                             28   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an

                                                                           COMPLAINT

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                          1   amount subject to proof at trial.
                          2          29.    Plaintiff is informed and believes and thereon alleges that the above-alleged
                          3   actions of Defendant were the result and consequence of Defendant's failure to supervise,
                          4   control, direct, manage, and counsel those agents throughout Plaintiff's employment and
                          5   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
                          6   enabled agents to believe that their conduct was appropriate.
                          7          30.    Defendant, and each of them, failed to offer counseling or comfort to
                          8   Plaintiff and sent the unmistakable message that such conduct is appropriate in the
                          9   workplace.
                         10          31.    Plaintiff is informed and believes and thereon alleges that Defendant has a
                         11   systemic and wide-spread policy of discriminating against and retaliating against
                         12   employees with disabilities.        By failing to stop the discrimination, harassment and
                         13   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
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                         14   directly caused a vicious cycle of wrongful conduct with impunity.
                         15          32.    Plaintiff is informed and believes and thereon alleges that her disability was
                         16   a motivating factor in the decision of Defendant to discriminate against her and terminate
                         17   her.
                         18          33.    The outrageous conduct of Defendant, and each of them, as alleged herein,
                         19   was done with oppression and malice by Defendant and its supervisors and managers,
                         20   along with conscious disregard of Plaintiff's rights, and were ratified by those other
                         21   individuals who were managing agents of Defendant.
                         22          34.    The conduct of Defendant as alleged hereinabove was done with malice,
                         23   fraud or oppression, and in reckless disregard of Plaintiff's rights under California law.

                         24   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.

                         25          35.    Plaintiff also continues to incur attorneys' fees and legal expenses in an

                         26   amount according to proof at the time of trial which fees and expenses are recoverable

                         27   pursuant to Gov't Code §12900 et seq.

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                                                                        COMPLAINT

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                                1                                SECOND CAUSE OF ACTION
                                2                                    AGE DISCRIMINATION
                                3                     IN VIOLATION OF GOV.CODE § 12940 ET SEQ.
                                4                                    (Against all Defendants)
                                5          36.     Plaintiff refers to all allegations contained in paragraphs 1-35, inclusive and
                                6   by such reference incorporates the same herein as though fully realleged in detail.
                                7          37.     At all times herein mentioned, Gov't Code §§12940(a) and 12941 were in
                                8   full force and effect and were binding on Defendant. These sections require Defendant to
                                9   refrain from discriminating against any employee over the age of40 because of their age.
                               10          38.     At the time of Plaintiff's injury and at the time of Plaintiff's termination,
                               11   and at all times that Defendant was discriminating against Plaintiff as alleged herein,
                               12   Plaintiff was over the age of 40. Plaintiff is informed and believes and thereon alleges
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                               13   that after years of wholly satisfactory, competent and diligent performance to the profit of
                               14   Defendants, that Plaintiff's age, being over 40, was a motivating factor in Defendants'
                               15   decision to terminate Plaintiff's employment. Said conduct by Defendants was intentional
                               16   and willful.
                               17          39.     Plaintiff is informed and believes and thereon alleges that Plaintiff was
                               18   replaced with an employee below the age of 40.
                               19          40.     Defendant was aware of Plaintiff's age, as herein alleged, because Plaintiff
                               20   maintained Plaintiff's personnel file which specifically contained the date of Plaintiff's
                               21   birth and her corresponding age.
                               22          41.     At all times herein alleged, Plaintiff was qualified for the position of
                               23   employment that she held with Defendant and was able to perform the essential functions
                               24   of that job.
                               25          42.     Plaintiff is informed and believes and thereon alleges that as a direct and

                               26   proximate result of Plaintiff's age, Defendant decided to terminate Plaintiff's

                               27   employment, and in fact, did terminate Plaintiff's employment.

                               28          43.     Defendants' discriminatory action against Plaintiff, as alleged above,

                                                                             COMPLAINT

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                                1   constitutes unlawful discrimination in employment on account of Plaintiff's age in
                                2   violation of FEHA, and particularly Gov't Code §12940.
                                3          44.    As a direct, foreseeable, and proximate result of Defendants' discriminatory
                                4   action against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has
                                5   suffered the loss of wages, salary, benefits, the potential for advancement, and additional
                                6   amounts of money Plaintiff would have received but for Defendant's discriminatory
                                7   conduct, all in an amount subject to proof at the time of trial.
                                8          45.    As a direct, foreseeable, and proximate result of the wrongful conduct of
                                9   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional
                               10   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an
                               11   amount subject to proof at trial.
                               12          46.    Plaintiff is informed and believes and thereon alleges that the above-alleged
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                               13   actions of Defendant were the result and consequence of Defendant's failure to supervise,
                               14   control, direct, manage, and counsel those agents throughout Plaintiffs employment and
                               15   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
                               16   enabled agents to believe that their conduct was appropriate.
                               17          47.    Defendants, and each of them, failed to offer counseling or comfort to
                               18   Plaintiff and sent the unmistakable message that such conduct is appropriate in the
                               19   workplace.
                               20          48.    Plaintiff is informed and believes and thereon alleges that Defendant has a
                               21   systemic and wide-spread policy of discriminating against and retaliating against
                               22   employees over the age of 40. By failing to stop the discrimination, harassment and
                               23   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
                               24   directly caused a vicious cycle of wrongful conduct with impunity.

                               25         49.     The outrageous conduct of Defendant, and each of them was done with

                               26   oppression and malice by Defendant and its supervisors and managers, along with

                               27   conscious disregard of Plaintiffs rights, and were ratified by those other individuals who

                               28   were managing agents of Defendant.

                                                                             COMPLAINT

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                                  1          50.     Plaintiff also continues to incur attorneys' fees and legal expenses in an
                                  2   amount according to proof at the time of trial which fees and expenses are recoverable
                                  3   pursuant to Gov't Code §12900 et seq.
                                  4                                  THIRD CAUSE OF ACTION
                                  5           FAILURE TO ACCOMMODATE DISABILITY IN VIOLATION OF
                                  6                      CALIFORNIA GOVERNMENT CODE § 12940(m)
                                  7                                    (Against All Defendants)
                                  8          51.     Plaintiff refers to all allegations contained in paragraphs 1-50, inclusive and
                                  9   by such reference incorporates the same herein as though fully realleged in detail.
                                 10          52.     Plaintiff has a disability as alleged above.
                                 11          53.     Defendant was aware of Plaintiff's disability, as alleged above and herein.
                                 12          54.     Defendant failed and refused to accommodate Plaintiff's needs, and, failed
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                                 13   and refused to engage in an interactive process with Plaintiff, and, failed to address
                                 14   Plaintiff's needs in light of her disabilities.
                                 15          55.     At all times herein alleged, Plaintiff was qualified for the position of
                                 16   employment that she held with Defendant and was able to perform the essential functions
                                 17   of that job if such reasonable accommodation had been made by Defendant. At no time
                                 18   would the performance of the functions of the employment position, with a reasonable
                                 19   accommodation for Plaintiff's disabilities, have been a danger to Plaintiff's or any other
                                 20   person's health or safety, nor would it have created an undue hardship to the operation of
                                 21   Defendant's business.
                                 22          56.     Defendant's failure to accommodate Plaintiff, as alleged above, constitutes
                                 23   unlawful conduct in employment in violation of FEHA, and particularly Gov 't Code

                                 24   §12940.
                                 25          57.     As a direct, foreseeable, and proximate result of Defendant's wrongful

                                 26   conduct against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has

                                 27   suffered the loss of wages, salary, benefits, the potential for advancement, and additional

                                 28   amounts of money Plaintiff would,have received but for Defendant's wrongful conduct,

                                                                                COMPLAINT

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                                 1   in an amount of at least three hundred thousand dollars, all subject to proof at the time of
                                 2   trial.
                                 3            58.   As a direct, foreseeable, and proximate result of the wrongful conduct of
                                 4   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional
                                 5   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an
                                 6   amount subject to proof at trial.
                                 7            59.   Plaintiff is informed and believes and thereon alleges that the above-alleged
                                 8   actions of Defendant were the result and consequence of Defendant's failure to supervise,
                                 9   control, direct, manage, and counsel those agents throughout Plaintiff's employment and
                                10   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
                                11   enabled agents to believe that their conduct was appropriate.
                                12            60.   Defendant, and each of them, failed to offer counseling or comfort to
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                                13   Plaintiff and sent the unmistakable message that such conduct is appropriate in the
                                14   workplace.
                                15            61.   Plaintiff is informed and believes and thereon alleges that Defendant has a
                                16   systemic and wide-spread policy of discriminating against and retaliating against
                                17   employees with disabilities.        By failing to stop the discrimination, harassment and
                                18   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
                                19   directly caused a vicious cycle of wrongful conduct with impunity.
                                20            62.   Plaintiff is informed and believes and thereon alleges that Defendant's
                                21   desire to avoid accommodating Plaintiff was a motivating factor in the decision of
                                22   Defendant to discriminate against her and ultimately terminate her.
                                23            63.   The outrageous conduct of Defendant, and each of them, as alleged herein,
                                24   was done with oppression and malice by Defendant and its supervisors and managers,

                                25   along with conscious disregard of Plaintiff's rights, and were ratified by those other

                                26   individuals who were managing agents of Defendant.

                                27            64.   The conduct of Defendant as alleged hereinabove was done with malice,

                                28   fraud, or oppression, and in reckless disregard of Plaintiff's rights under California law.

                                                                               COMPLAINT

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                                1   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
                                2          65.    Plaintiff also continues to incur attorneys' fees and legal expenses in an
                                3   amount according to proof at the time of trial which fees and expenses are recoverable
                                4   pursuant to Gov't Code §12900 et seq.
                                5                               FOURTH CAUSE OF ACTION
                                6             FAILURE TO ENGAGE IN THE INTERACTIVE PROCESS IN
                                7           VIOLATION OF CALIFORNIA GOVERNMENT CODE § 12940(n)
                                8                                  (Against All Defendants)
                                9          66.    Plaintiff refers to all allegations contained in paragraphs 1-65, inclusive and
                               10   by such reference incorporates the same herein as though fully realleged in detail.
                               11          67.    Plaintiff has a disability as alleged above.
                               12          68.    Defendant was aware of Plaintiff's disability, as alleged above and herein.
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                               13          69.    Defendant failed and refused to engage Plaintiff in an interactive process
                               14   designed to unite Plaintiff with her job.
                               15          70.    At all times herein alleged, Plaintiff was qualified for the position of
                               16   employment that she held with Defendant and was able to perform the essential functions
                               17   of that job if such reasonable accommodation had been made by Defendant. At no time
                               18   would the performance of the functions of the employment position, with a reasonable
                               19   accommodation for Plaintiff's disabilities, have been a danger to Plaintiff's or any other
                               20   person's health or safety, nor would it have created an undue hardship to the operation of
                               21   Defendant's business.
                               22          71.    Defendant's failure to engage with Plaintiff in an interactive process, as
                               23   alleged above, constitutes unlawful conduct in employment in violation of FEHA, and
                               24   particularly Gov't Code §12940.
                               25          72.    As a direct, foreseeable, and proximate result of Defendant's wrongful

                               26   conduct against Plaintiff, as herein alleged, Plaintiff has been harmed in that Plaintiff has

                               27   suffered the loss of wages, salary, benefits, the potential for advancement, and additional

                               28   amounts of money Plaintiff would have received but for Defendant's wrongful conduct,

                                                                            COMPLAINT

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                               1   all in an amount no less than three hundred thousand dollars, subject to proof at the time
                               2   of trial.
                               3           73.   As a direct, foreseeable, and proximate result of the wrongful conduct of
                               4   Defendant as herein alleged, Plaintiff has also suffered and continues to suffer emotional
                               5   distress and anguish, humiliation, anxiety, and medical expenses all to her damage in an
                               6   amount subject to proof at trial.
                               7           74.   Plaintiff is informed and believes and thereon alleges that the above-alleged
                               8   actions of Defendant were the result and consequence of Defendant's failure to supervise,
                               9   control, direct, manage, and counsel those agents throughout Plaintiff's employment and
                              10   that Defendant ratified, condoned and/or encouraged the discriminatory behavior and
                              11   enabled agents to believe that their conduct was appropriate.
                              12           75.   Defendant, and each of them, failed to offer counseling or comfort to
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                              13   Plaintiff and sent the unmistakable message that such conduct is appropriate in the
                              14   workplace.
                              15          76.    Plaintiff is informed and believes and thereon alleges that Defendant has a
                              16   systemic and wide-spread policy of discriminating against and retaliating against
                              17   employees with disabilities.        By failing to stop the discrimination, harassment and
                              18   retaliation, Defendant ratified the discriminatory and retaliatory conduct which, in turn,
                              19   directly caused a vicious cycle of wrongful conduct with impunity.
                              20           77.   Plaintiff is informed and believes and thereon alleges that Defendant's
                              21   desire to avoid accommodating Plaintiff was a motivating factor in the decision of
                              22   Defendant to discriminate against her and ultimately terminate her.
                              23          78.    The outrageous conduct of Defendant, and each of them, as alleged herein,
                              24   was done with oppression and malice by Defendant and its supervisors and managers,

                              25   along with conscious disregard of Plaintiff's rights, and were ratified by those other

                              26   individuals who were managing agents of Defendant.

                              27          79.    The conduct of Defendant as alleged hereinabove was done with malice,

                              28   fraud or oppression, and in reckless disregard of Plaintiff's rights under California law.

                                                                             COMPLAINT

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                               I   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
                               2          80.      Plaintiff also continues to incur attorneys' fees and legal expenses in an
                               3   amount according to proof at the time of trial which fees and expenses are recoverable
                               4   pursuant to Gov't Code §12900 et seq.
                               5                                  FIFTH CAUSE OF ACTION
                               6                FAILURE TO PREVENT DISCRIMINATION IN VIOLATION
                               7                    OF CALIFORNIA GOVERNMENT CODE § 12940(k)
                               8                                    (Against All Defendants)
                               9          81.      Plaintiff refers to all allegations contained in paragraphs 1-80 inclusive and
                              10   by such reference incorporates the same herein as though fully realleged in detail.
                              11          82.      During the course of employment, Defendant, and each of them, failed to
                              12   prevent or remedy discrimination, retaliation and harassment toward Plaintiff on the basis
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                              13   of her disability and participation in protected conduct in violation of Government Code
                              14   §12940(k).
                              15          83.      As a direct result of the wrongful conduct of Defendant, Plaintiff suffered,
                              16   and continues to suffer, substantial losses in earnings and other benefits in an amount
                              17   according to proof at the time trial, including special and general damages.
                              18          84.     As a direct, foreseeable, and proximate result of the wrongful conduct of
                              19   Defendant, Plaintiff has suffered and continues to suffer emotional distress and anguish,
                              20   humiliation, substantial losses in salary, bonuses, job benefits, and other employment
                              21   benefits which she would have received all to her damage in a sum within the jurisdiction
                              22   of the Court to be ascertained according to proof.
                              23         85.      Plaintiff is informed and believes and thereon alleges that the outrageous
                              24   conduct of Defendant, and each of them, as alleged herein, was done with oppression and
                              25   malice by Plaintiff's supervisors and managers, along with conscious disregard of

                              26   Plaintiff's rights, and were ratified by those other individuals who were managing agents

                              27   of Defendant.

                              28         86.      As a proximate result of the wrongful conduct of Defendant, and each of

                                                                            COMPLAINT

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                            1   them, Plaintiff has suffered and continues to suffer humiliation, emotional distress, and
                            2   mental and physical pain and anguish according to proof at the time of trial.
                            3          87.     These unlawful acts were further encouraged by Defendant and done with a
                            4   conscious disregard for Plaintiff's rights and with the intent, design, and purpose of
                            5   injuring Plaintiff. The conduct of Defendant alleged hereinabove was done with malice,
                            6   fraud or oppression, and in reckless disregard of Plaintiff's rights under California law.
                            7   As such, Plaintiff is entitled to punitive damages within the meaning of Civ. Code §3294.
                            8          88.    Plaintiff has also incurred and continues to incur attorneys' fees and legal
                            9   expenses in an amount according to proof at the time of trial.
                           10                                  SIXTH CAUSE OF ACTION
                           11                             RETALIATION IN VIOLATION OF
                           12                      CALIFORNIA GOVERNMENT CODE §12940(h)
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                           13                                   (Against All Defendants)
                           14          89.    Plaintiff refers to all allegations contained in paragraphs 1-88, inclusive,
                           15   and by such reference incorporates the same herein as though fully realleged in detail.
                           16          90.    At all times herein mentioned, FEHA, Government Code §12940(h), was in
                           17   full force and effect and was binding on Defendant. This statute requires Defendant to
                           18   refrain from retaliating against Plaintiff.
                           19          91.    Plaintiff is informed and believes and thereon alleges that as a consequence
                           20   of lodging complaints with Defendants about the harassing and discriminatory acts being
                           21   committed against Plaintiff, coupled with Plaintiff's disability sustained while on-the-job
                           22   for which workers compensation coverage was required along with reasonable
                           23   accommodation, Defendant took retaliatory action against Plaintiff by failing to conduct a
                           24   good faith interactive process aimed at reuniting Plaintiff with her job, failing to

                           25   determine the essential functions of Plaintiff's job, mistreat Plaintiff, and deny Plaintiff

                           26   advancement and promotion.

                           27          92.    Defendant unlawfully retaliated against Plaintiff after she engaged in

                           28   protected activity after being injured on the job, such as without limitation, filing or

                                                                         COMPLAINT

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                              I   intending to file for workers' compensation benefits due to safety concerns and
                              2   requesting accommodation, and, lodging workplace complaints related to the harassment
                              3   and discrimination that she was facing, and other complaints of a hostile and unsafe
                              4   working environment.
                              5          93.    As a proximate result of Defendant's willful, knowing, and intentional
                              6   conduct against Plaintiff, she has sustained and continues to sustain substantial losses in
                              7   her earnings and other employment benefits and continues to suffer humiliation,
                              8   emotional distress, and mental and physical pain an and anguish, and sleep dysfunction,
                              9   all to her damage in a sum according to proof.
                             10          94.    These unlawful acts were further encouraged by Defendant and done with a
                             11   conscious disregard for Plaintiff's rights and with the intent, design, and purpose of
                             12   injuring Plaintiff. In light of Defendant's willful, knowing, and intentional discrimination
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                             13   against Plaintiff which culminated in her discharge, Plaintiff seeks an award of punitive
                             14   and exemplary damages in an amount according to proof.
                             15         95.     Plaintiff has incurred and continues to incur legal expenses and attorney
                             16   fees. Plaintiff is presently unaware of the precise amount of said expenses and fees and
                             17   prays leave of court to amend this Complaint when said amounts are more fully known.
                             18                              SEVENTH CAUSE OF ACTION
                             19                               WRONGFUL TERMINATION
                             20                                  (Against All Defendants)
                             21         96.    Plaintiff refers to all allegations contained in paragraphs 1-95, inclusive and
                             22   by such reference incorporates the same herein as though fully realleged in detail.
                             23         97.    Plaintiff informed Defendants that she suffered from disabilities. Further,
                             24   Defendants were aware of Plaintiff's requests for accommodation and complaints about
                             25   her workplace environment. Defendants were also aware that Plaintiff filed a worker's

                             26   compensation claim and sought medical treatment pursuant to the same.

                             27         98.    Labor Code §232.5 makes it illegal for an employer to prohibit an

                             28   employee from discussing their working conditions.

                                                                         COMPLAINT

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                           99.    Labor Code §6310 protects an employee's right to complain of unsafe
                2   working conditions.
                3          100. Labor Code §6400 requires employers to provide a work environment that
                4   is safe for its employees.
                5          101. Gov't Code §12940 et seq., prohibits forms of discrimination against
                6   protected classes of employees.
                7          102. Defendant wrongfully terminated Plaintiff in violation of a substantial and
                8   fundamental public policy in that a determining and motivating factor in Defendants'
                9   decision to terminate Plaintiff was the desire to retaliate against her because: (i) she had
               10   a disability and work restrictions, (ii) she requested and required reasonable
               11   accommodation,(iii) she required an interactive process, and (iv) she lodged complaints.
               12          103. Plaintiff is informed and believes and thereon alleges that these factors
               13   made up Defendants decision to terminate Plaintiff and/or played an important and
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               14   integral role in said decision. Such discrimination was in violation of the public policy of
               15   the State of California and resulted in damage and injury to Plaintiff as alleged herein.
               16          104. As a proximate result of Defendants willful, knowing, and intentional
               17   discrimination and retaliation against Plaintiff, she has sustained and continues to sustain
               18   substantial losses in her earnings and other employment benefits and continues to suffer
               19   humiliation, emotional distress, and mental and physical pain an and anguish, and loss of
               20   sleep/sleep dysfunction, all to her damage in a sum according to proof
               21          105. In light of Defendants willful, knowing, and. intentional discrimination
               22   against Plaintiff which resulted in her wrongful termination, Plaintiff seeks an award of
               23   punitive and exemplary damages in an amount according to proof
               24                                EIGHTH CAUSE OF ACTION

               25                    FAILURE TO PROVIDE EMPLOYMENT RECORDS

               26                                  (Against All Defendants)

               27          106. Plaintiff refers to all allegations contained in paragraphs 1-105, inclusive

               28   and by such reference incorporates the same herein as though fully realleged in detail.

                                                            COMPLAINT

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                               I          107. California Labor Code §1174, subdivision (c), requires employers doing
                               2   business in the State of California to maintain payroll records and to keep these records in
                               3   a central location in the State of California.
                               4          108. California Labor Code §226, subdivisions (b) and (c), require employers
                               5   doing business in the State of California to provide current and former employees access
                               6   to their payroll records.
                               7          109. California Labor Code §432, subdivision (b), requires employers doing
                               8   business in the State of California to provide current and former employees copies of all
                               9   written instruments they sign upon request.
                              10          110. California Labor Code §1198.5 et seq., provides current and former
                              11   employees the right to inspect their employee personnel records that the employer
                              12   maintains relating to the employee's performance or to any grievance concerning the
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                              13   employee.
                              14          1 11. Plaintiff, via counsel, requested Defendants to provide Plaintiff with her
                              15   employee personnel file and payroll records, and Defendants did not provide Plaintiff
                              16   with inspection rights or complete copies of such records, in violation of the above-
                              17   described statutes.
                              18          1 12. As a result of Defendants' statutory violations alleged in this Complaint,
                              19   Plaintiff suffered damages, in an amount to be determined according to proof at trial,
                              20   costs, and attorney's fees.
                              21          1 13. By reason of the foregoing, Plaintiff has been left without an adequate
                              22   remedy at law, and should be entitled to appropriate injunctive relief from this Court,
                              23   including, but not limited to, an order by the Court requiring Defendants to turn over

                              24   copies of Plaintiff's employee personnel file and payroll records to Plaintiff or to provide

                              25   Plaintiff access to these records as required by law.

                              26          1 14. Plaintiff is entitled to costs and attorney's fees as provided by applicable

                              27   law, including, but not limited to, California Labor Code §226 subdivisions (e), (f), and

                              28 (h), and § 1198.5 subdivision (1).

                                                                            COMPLAINT

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                                  1          115. Plaintiff is entitled to penalties as provided by applicable law, including,
                                  2   but not limited to, California Labor Code §§ 226 subdivisions (e) and (f), and §1198.5
                                  3   subdivision (k).
                                  4                                NINTH CAUSE OF ACTION
                                  5                        MEAL AND REST BREAK VIOLATIONS
                                  6                                 (Against All Defendants)
                                  7          116. Plaintiff refers to all allegations contained in paragraphs 1-115, inclusive
                                  8   and by such reference incorporates the same herein as though fully realleged in detail.
                                  9          1 17. Labor Code §226.7(a) provides in pertinent part that, "No Employer shall
                                 10   require any employee to work during any meal or rest period mandated by an applicable
                                 11   order of the Industrial Welfare Commission."
                                 12          1 18. Labor Code §512 provides in pertinent part that, "An employer may not
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                                 13   employ an employee for a work period of more than five hours per work day without
                                 14   providing the employee with a meal period of not less than 30 minutes, except that if the
                                 15   total work period per day of the employee is no more than six hours, the meal period may
                                 16   be waived by mutual consent of both the employer and employee."
                                 17          1 19. Labor Code §512 further provides in pertinent part that,"An employer may
                                 18   not employ an employee for a work period of more than 10 hours per day without
                                 19   providing the employee with a second meal period of not less than 30 minutes, except
                                 20   that if the total hours worked is no more than 12 hours, the second meal period may be
                                 21   waived by mutual consent of the employer and the employee only if the first meal period
                                 22   was not waived."

                                 23          120. Labor Code §516 provides that the industrial Welfare Commission may
                                 24   adopt or amend working condition orders with respect to meal periods for any workers in
                                 25   California consistent with the health and welfare of those workers.

                                 26          121. Section 11(A) of the IWC Wage Order(s) provides that "Unless the

                                 27   employee is relieved of all duty during a 30 minute meal period, the meal period shall be

                                 28   considered an "on duty" meal period and counted as time worked. An "on duty" meal

                                                                             COMPLAINT

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                                1   period shall be permitted only when the nature of the work prevents an employee from
                                2   being relieved of all duty and when by written agreement between the parties an on-the-
                                3   job paid meal period is agreed to. The written agreement shall state that the employee
                                4   may, in writing, revoke the agreement at any time."
                                5          122. Section 11(B) of the IWC Wage Order(s) provides that "If an employer
                                6   fails to provide an employee a meal period in accordance with the applicable provisions
                                7   of this order, the employer shall pay the employee one (1) hour of pay at the employee's
                                8   regular rate of compensation for each workday that the meal period is not provided."
                                9          123. Likewise, the IWC Wage Order(s) and provisions of the Labor Code
                               10   require that an employer relieve an employee of duty for a ten minute break for every
                               11   four hours worked.
                               12          124. While employed by Defendants, and at all times relevant herein, Plaintiff
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                               13   consistently worked over five (5) hours per shift and therefore was entitled to an
                               14   uninterrupted meal period of not less than thirty (30) minutes prior to exceeding five (5)
                               15   hours of employment, and, at least one rest break for every four hours worked.
                               16          125. At all times relevant herein, Plaintiff did not waive her meal periods and/or
                               17   rest breaks, by mutual consent with Defendants or otherwise.
                               18          126. At all times relevant herein, Plaintiff did not enter into any written
                               19   agreement with Defendants agreeing to an on-the-job paid meal period and/or rest break.
                               20          127. Defendants failed to comply with the rest and meal period requirements
                               21   established by Labor Code §226.7, Labor Code §512, Labor Code §516 and Section 11
                               22   of the IWC Wage Order(s).
                               23          128. Pursuant to Section 11(B) of the IWC Wage Order(s) and Labor Code
                               24   §226.7(b), which states in pertinent part that "if an employer fails to provide an employee

                               25   a meal or rest period in accordance with an applicable order of the industrial Welfare

                               26   Commission, the employer shall pay the employee one additional hour of pay at the

                               27   employee's regular rate of compensation for each work day that the meal or rest period is

                               28   not provided," Plaintiff is entitled to damages in an amount equal to one (1) additional

                                                                           COMPLAINT

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               1   hour of pay at Plaintiff's regular rate of compensation for each work day that the meal
               2   period was not provided.
               3          129. Pursuant to Labor Code §218.6 and Civil Code §3287, Plaintiff seeks
               4   recovery of pre-judgment interest on all amounts recovered herein.
               5                                TENTH CAUSE OF ACTION
               6         VIOLATION OF BUSINESS & PROFESSIONS CODE § 17200 ETSEQ.
               7                                  (Against All Defendants)
               8          130. Plaintiff refers to all allegations contained in paragraphs 1-129 inclusive,
               9   and by such reference incorporates the same herein as though fully realleged in detail.
              10          131.    Defendant, and each of them, have engaged in unfair and unlawful
              11   business practices as set forth above.
              12          132. Business & Professions Code § 17200 et seq. prohibits unlawful and unfair
              13   business practices.
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              14          133. By engaging in the above-described acts and practices, Defendant, and each
              15   of them, have committed one or more acts of unfair, unlawful or fraudulent competition
              16   within the meaning of Business & Professions Code §17200 et seq.
              17          134. Defendant, and each of them, have violated statutes and public policies.
              18   Through the conduct alleged in this Complaint, Defendant, and each of them, have acted
              19   contrary to public policies and have engaged in other unlawful and unfair business
              20   practices in violation of Business & Professions Code § 17200 et seq., depriving Plaintiff
              21   and all interested persons of rights, benefits, and privileges guaranteed to all employees
              22   under law.
              23          135. As a direct and proximate result of the aforementioned acts and practices,
              24   Plaintiff has suffered a loss of money and property in the form of wages and benefits that
              25   she would have received as an employee of Defendant, and each of them.

              26          136. Plaintiff seeks an order of this Court awarding restitution, injunctive relief

              27   and all other relief allowed under Business & Professions Code §17200 et seq., plus

              28   interest and costs.

                                                            COMPLAINT

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 1                                   PRAYER FOR RELIEF
 2    WHEREFORE,Plaintiff prays for judgment as follows:
 3       1. For all actual, consequential, and incidental damages, including but not limited to
 4          loss of earnings and employee benefits, according to proof, but no less than three
 5          hundred thousand dollars;
 6      2. For restitution for unfair competition pursuant to Business & Professions Code
 7          §17200 et seq., resulting from Defendants' unlawful business acts and practices,
 8          according to proof;
 9      3. For an order enjoining Defendants and their agents, servants, and employees, and
10          all persons acting under, in concert with, or for them, from acting in derogation of
11          any rights or duties alleged in this Complaint;
12      4. For pre-judgment and post-judgment interest, according to proof;
13      5. For punitive and exemplary damages, according to proof;
14      6. For attorneys' fees, according to proof and statute;
15      7. For costs of suit incurred herein;
16      8. For such other relief and the Court may deem just and proper.
17

18    Dated: January 9, 2020                            SMAILI & ASSOCIATES,P.C.
19

20                                              By:   /s/jihai911. Smaih
21                                                    Jihad M. Smaili, Esq.
                                                      Attorneys for Plaintiff
22.

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                                            COMPLAINT

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                             Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 33 of 60 Page ID #:33




                              1                               DEMAND FOR JURY TRIAL
                              2         Plaintiff hereby requests a trial by jury.
                              3
                                  Dated: January 9, 2020                    SMAILI & ASSOCIATES,P.C.
                              4

                              5

                              6                                             By:      /s/Jihad911. Smaiti
                                                                                  Jihad M. Smaili, Esq.
                              7                                                   Attorneys for Plaintiff
                              8

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                                                                          COMPLAINT

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                     EXHIBIT “B”
            Case Electronically
    30-2020-01123040-CU-WT-CJC
                                Filed by Superior Court of California, County of Orange, 12/28/2020 11:22:00 AM.
                 8:20-cv-02449-CJC-JDE            Document
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                                                                                                                     Clerk.



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                        3       Fresno, California 93704.2225
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                        4       Facsimile.: 559.244.7525
                                Email:        reddings@littler.com
                        5       Email:        HAlee@littler.com

                        6       Attorneys for Defendant
                                FIRSTGROUP AMERICA, INC.
                        7

                        8                                      SUPERIOR COURT OF CALIFORNIA
                        9                                               COUNTY OF ORANGE
                     10        PAULA ROGERS, an individual,                          Case No. 30-2020-01123040-CU-WT-CJC
                     11                           Plaintiff,                         DEFENDANT’S GENERAL DENIAL AND
                                                                                     AFFIRMATIVE DEFENSES TO
                     12               v.                                             PLAINTIFF’S UNVERIFIED COMPLAINT
                     13        FIRSTGROUP AMERICA, INC., a                           Assigned For All Purposes to Judge Layne H.
                               corporate entity form unknown; and DOES               Melzer
                     14        1-50, inclusive,
                     15                           Defendants.                        Trial Date: TBD
                                                                                     Complaint Filed: January 9, 2020
                     16

                     17

                     18

                     19                       Defendant FIRSTGROUP AMERICA, INC. (“Defendant”), answering the Complaint

                     20        of Plaintiff PAULA ROGERS (“Plaintiff”) for itself alone and for no other Defendants, hereby

                     21        answers Plaintiff’s unverified Complaint (the “Complaint”) as follows:

                     22                                                   GENERAL DENIAL

                     23                       Pursuant to the provisions of the California Code of Civil Procedure section 431.30(d),

                     24        Defendant denies generally and specifically each and every allegation contained in the Complaint.

                     25        Additionally, Defendant denies that Plaintiff has sustained, or will sustain, any loss or damage in the

                     26        manner or amount alleged, or otherwise, by reason of any act or omission, or any other conduct or

                     27        absence thereof on the part of said Defendant.

                     28        ///
LITTLE R MEND ELSO N, P .C .
    5200 N orth Palm Avenue
           Suite 302
    Fresno, CA 93704.2225
         559.244.7500
                                           Defendant’s General Denial and Affirmative Defenses to Plaintiff’s Unverified Complaint
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                        1                                            AFFIRMATIVE DEFENSES

                        2                     Without waiving or excusing the burden of proof of Plaintiff, or admitting that

                        3      Defendant has any burden of proof or persuasion, and incorporating herein by reference each and

                        4      every allegation made in the General Denial, Defendant asserts the following affirmative defenses.

                        5      Defendant is informed and believes that a reasonable opportunity for investigation and discovery will

                        6      reveal facts in support of the following:

                        7                                        FIRST AFFIRMATIVE DEFENSE

                        8                     1.       As a separate and distinct affirmative defense, Defendant alleges that the

                        9      Complaint and each cause of action set forth therein fail to state facts sufficient to constitute a cause

                     10        of action upon which relief can be granted.

                     11                                        SECOND AFFIRMATIVE DEFENSE

                     12                       2.       As a separate and distinct affirmative defense, Defendant is informed and

                     13        believes that a reasonable opportunity for investigation and discovery will reveal, and on that basis

                     14        alleges, that the Complaint and each cause of action set forth therein are barred by the equitable

                     15        doctrine of estoppel.

                     16                                          THIRD AFFIRMATIVE DEFENSE

                     17                       3.       As a separate and distinct affirmative defense, Defendant is informed and

                     18        believes that a reasonable opportunity for investigation and discovery will reveal, and on that basis

                     19        alleges, that the Complaint and each cause of action set forth therein are barred by the equitable

                     20        doctrine of consent.

                     21                                        FOURTH AFFIRMATIVE DEFENSE

                     22                       4.       As a separate and distinct affirmative defense, Defendant is informed and

                     23        believes that a reasonable opportunity for investigation and discovery will reveal, and on that basis

                     24        alleges, that the Complaint and each cause of action set forth therein are barred by the equitable

                     25        doctrine of laches.

                     26                                          FIFTH AFFIRMATIVE DEFENSE

                     27                       5.       As a separate and distinct affirmative defense, Defendant is informed and

                     28        believes that a reasonable opportunity for investigation and discovery will reveal, and on that basis
LITTLE R MEND ELSO N, P .C .
    5200 N orth Palm Avenue
           Suite 302
                                                                               2.
    Fresno, CA 93704.2225
         559.244.7500
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                        1      alleges, that the Complaint and each cause of action set forth therein are barred by the equitable

                        2      doctrine of waiver.

                        3                                        SIXTH AFFIRMATIVE DEFENSE

                        4                     6.      As a separate and distinct affirmative defense, Defendant is informed and

                        5      believes that a reasonable opportunity for investigation and discovery will reveal, and on that basis

                        6      alleges, that the Complaint and each cause of action set forth therein are barred by the equitable

                        7      doctrine of unclean hands.

                        8                                     SEVENTH AFFIRMATIVE DEFENSE

                        9                     7.      As a separate and distinct affirmative defense, Defendant alleges that the

                     10        Complaint and each cause of action set forth therein cannot be maintained against Defendant to the

                     11        extent further investigation and discovery reveal any after-acquired evidence that bars any or certain

                     12        remedies in this action.

                     13                                        EIGHTH AFFIRMATIVE DEFENSE

                     14                       8.      As a separate and distinct affirmative defense, and without admitting that

                     15        Defendant employed Plaintiff, Defendant alleges that the Complaint and each cause of action set forth

                     16        therein cannot be maintained because Plaintiff was an at-will employee at all relevant times, with no

                     17        entitlement to continued employment pursuant to California Labor Code section 2922.

                     18                                          NINTH AFFIRMATIVE DEFENSE

                     19                       9.      As a separate and distinct affirmative defense, Defendant is informed and

                     20        believes that further investigation and discovery will reveal, and on that basis alleges, that Plaintiff’s

                     21        claims are barred by her failure to comply with the terms, conditions, covenants, and promises required

                     22        to be performed by Plaintiff in accordance with the policy, or any other agreement or agreements,

                     23        including but not limited to the applicable collective bargaining agreement(s).

                     24                                         TENTH AFFIRMATIVE DEFENSE

                     25                       10.     As a separate and distinct affirmative defense, Defendant alleges that Plaintiff’s

                     26        claims for damages are barred, in whole or in part, by the doctrine of avoidable consequences.

                     27                                      ELEVENTH AFFIRMATIVE DEFENSE

                     28                       11.     As a separate and distinct affirmative defense, and without admitting that
LITTLE R MEND ELSO N, P .C .
    5200 N orth Palm Avenue
           Suite 302
                                                                              3.
    Fresno, CA 93704.2225
         559.244.7500
                                           Defendant’s General Denial and Affirmative Defenses to Plaintiff’s Unverified Complaint
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                        1      Defendant employed Plaintiff, Defendant alleges that the Complaint and each cause of action set forth

                        2      therein are barred, in whole or in part, because Plaintiff’s employer acted reasonably in good faith, in

                        3      conformity with and in reliance on written administrative regulations, orders, rulings, guidelines,

                        4      approvals, and/or interpretations of governmental agencies, and on the basis of a good-faith and

                        5      reasonable belief that it had complied fully with applicable law.

                        6                                     TWELFTH AFFIRMATIVE DEFENSE

                        7                     12.     As a separate and distinct affirmative defense, and without admitting that

                        8      Defendant employed Plaintiff, Defendant alleges that the Complaint and each cause of action set forth

                        9      therein are barred, in whole or in part, because, even if any discriminatory, retaliatory, or otherwise

                     10        unlawful motive existed in connection with any actions or omissions concerning Plaintiff (which

                     11        Defendant denies), Plaintiff’s employer would have engaged in the same conduct absent any alleged

                     12        discriminatory, retaliatory, or otherwise unlawful motive.

                     13                                     THIRTEENTH AFFIRMATIVE DEFENSE

                     14                       13.     As a separate and distinct affirmative defense, and without admitting that

                     15        Defendant employed Plaintiff, Defendant alleges that any unlawful or wrongful acts, if any, taken by

                     16        Defendant’s officers, directors, managing agents, and/or employees were outside the course and scope

                     17        of their employment and authority, and such acts, if any, were not authorized, ratified, or condoned by

                     18        Defendant, and Defendant did not know and/or should not have known of such conduct.

                     19                                    FOURTEENTH AFFIRMATIVE DEFENSE

                     20                       14.     As a separate and distinct affirmative defense, and without admitting that

                     21        Defendant employed Plaintiff, Defendant alleges that the Complaint and some or all of the causes of

                     22        action set forth therein cannot be maintained because any complained of acts or omissions were

                     23        protected by the managerial privilege as all actions taken with respect to Plaintiff were undertaken and

                     24        exercised with proper managerial discretion in good faith, and for legitimate, lawful reasons.

                     25                                      FIFTEENTH AFFIRMATIVE DEFENSE

                     26                       15.     As a separate and distinct affirmative defense, Defendant alleges, without

                     27        admitting that Defendant engaged in any of the acts or omissions alleged in the Complaint, that any

                     28        such acts or omissions purportedly taken by or on behalf of Defendant were taken in good faith as a
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    5200 N orth Palm Avenue
           Suite 302
                                                                              4.
    Fresno, CA 93704.2225
         559.244.7500
                                           Defendant’s General Denial and Affirmative Defenses to Plaintiff’s Unverified Complaint
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                        1      result of business necessity, for lawful, legitimate, non-discriminatory, and non-retaliatory reasons

                        2      without malice, oppression, or fraud, and/or based on the relevant facts and circumstances known to

                        3      Defendant at the time it acted.

                        4                                    SIXTEENTH AFFIRMATIVE DEFENSE

                        5                     16.     As a separate and distinct affirmative defense, Defendant alleges that the

                        6      Complaint and each cause of action set forth therein are barred by Plaintiff’s failure to exhaust all

                        7      internal grievance and/or complaint procedures.

                        8                                 SEVENTEENTH AFFIRMATIVE DEFENSE

                        9                     17.     As a separate and distinct affirmative defense, Defendant alleges that the

                     10        Complaint and each cause of action set forth therein are barred by Plaintiff’s failure to exhaust

                     11        administrative remedies.

                     12                                    EIGHTEENTH AFFIRMATIVE DEFENSE

                     13                       18.     As a separate and distinct affirmative defense, Defendant alleges that the

                     14        Complaint and each cause of action set forth therein are barred, in whole or in part, to the extent that

                     15        they exceed the scope of the charges made by Plaintiff before the California Department of Fair

                     16        Employment and Housing and/or the Equal Employment Opportunity Commission, if any.

                     17                                     NINETEENTH AFFIRMATIVE DEFENSE

                     18                       19.     As a separate and distinct affirmative defense, and without admitting that

                     19        Defendant employed Plaintiff, Defendant alleges that the Complaint and each cause of action set forth

                     20        therein are barred, in whole or in part, because at all relevant times, (a) Plaintiff’s employer acted in

                     21        good faith and exercised reasonable care to prevent and promptly correct any discriminatory,

                     22        retaliatory, or otherwise unlawful behavior (which Defendant denies occurred), including but not

                     23        limited to promulgating and maintaining anti-discrimination, anti-retaliation and/or open-door policies

                     24        with an internal grievance and/or complaint procedure, which were communicated to Plaintiff; (b)

                     25        Plaintiff unreasonably failed to take advantage of the established internal grievance and/or complaint

                     26        procedure and other preventive or corrective opportunities provided to her by her employer or to

                     27        otherwise avoid harm; and (c) Plaintiff’s reasonable use of her employer’s procedures would have

                     28        prevented at least some, if not all, of the purported harm that Plaintiff allegedly suffered.
LITTLE R MEND ELSO N, P .C .
    5200 N orth Palm Avenue
           Suite 302
                                                                                  5.
    Fresno, CA 93704.2225
         559.244.7500
                                           Defendant’s General Denial and Affirmative Defenses to Plaintiff’s Unverified Complaint
                      Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 40 of 60 Page ID #:40



                        1                                   TWENTIETH AFFIRMATIVE DEFENSE

                        2                     20.     As a separate and distinct affirmative defense, Defendant alleges that the

                        3      Complaint and each cause of action set forth therein cannot be maintained against Defendant to the

                        4      extent Plaintiff’s claims are barred by the applicable statutes of limitations, including but not limited

                        5      to those set forth in California Code of Civil Procedure sections 338(a), 339(1), and California

                        6      Government Code sections 12960 and 12965.

                        7                                 TWENTY-FIRST AFFIRMATIVE DEFENSE

                        8                     21.     As a separate and distinct affirmative defense, Defendant alleges that some or

                        9      all of Plaintiff’s claims for damages cannot be maintained to the extent they are speculative.

                     10                                 TWENTY-SECOND AFFIRMATIVE DEFENSE

                     11                       22.     As a separate and distinct affirmative defense, Defendant alleges that the

                     12        Complaint and each cause of action set forth therein cannot be maintained against Defendant to the

                     13        extent the damages and losses alleged in the Complaint (which Defendant denies) were directly and

                     14        proximately caused or contributed to by factors other than any act or omission on the part of Defendant,

                     15        including but not limited to the intentional and/or negligent acts or omissions of Plaintiff and/or third

                     16        parties, and that Plaintiff’s recovery from Defendant, if any, must be denied or reduced accordingly.

                     17                                   TWENTY-THIRD AFFIRMATIVE DEFENSE

                     18                       23.     As a separate and distinct affirmative defense, and without admitting that

                     19        Defendant employed Plaintiff, Defendant alleges that Plaintiff is precluded from recovering punitive

                     20        damages from Defendant, because (1) any actions, conducts, statements, or omissions alleged in the

                     21        Complaint were not taken with advance knowledge, conscious disregard, authorization, or ratification

                     22        of malice, oppression, or fraud on the part of Defendant or any officer, director, or managing agent

                     23        thereof; (2) Defendant’s good faith efforts to prevent discrimination, retaliation, and otherwise

                     24        unlawful behavior bars any award of punitive damages; and (3) the Complaint and each cause of action

                     25        set forth therein fail to plead facts sufficient to support the recovery of punitive damages under the

                     26        applicable provisions of California Civil Code section 3294, or such other statutes of similar effect

                     27        that may be applicable. (See Cal. Civ. Code, § 3294(b).)

                     28        ///
LITTLE R MEND ELSO N, P .C .
    5200 N orth Palm Avenue
           Suite 302
                                                                                    6.
    Fresno, CA 93704.2225
         559.244.7500
                                           Defendant’s General Denial and Affirmative Defenses to Plaintiff’s Unverified Complaint
                      Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 41 of 60 Page ID #:41



                        1                                 TWENTY-FOURTH AFFIRMATIVE DEFENSE

                        2                     24.      As a separate and distinct affirmative defense, Defendant alleges that Plaintiff

                        3      is not entitled to recover punitive, exemplary and/or emotional distress damages on the grounds that

                        4      any award of punitive, exemplary or emotional distress damages under California law in general,

                        5      and/or as applied to the facts of this specific action, violates Defendant’s constitutional rights under

                        6      provisions of the United States and California Constitutions, including but not limited to the equal

                        7      protection and due process clauses of the Fifth and Fourteenth Amendments of the United States

                        8      Constitution, the excessive fines and cruel and unusual punishment clauses of the Eighth Amendment

                        9      of the United States Constitution, and Article I, Sections 7 and 17 and Article IV, Section 16 of the

                     10        California Constitution.

                     11                                   TWENTY-FIFTH AFFIRMATIVE DEFENSE

                     12                       25.      As a separate and distinct affirmative defense, Defendant alleges that Plaintiff

                     13        has failed to state a claim upon which relief may be granted, which includes, inter alia, recovery of

                     14        costs of suit, expert witness fees, attorneys’ fees, punitive damages, prejudgment interests, special

                     15        damages, exemplary damages, compensatory damages and injunctive relief.

                     16                                   TWENTY-SIXTH AFFIRMATIVE DEFENSE

                     17                       26.      As a separate and distinct affirmative defense, Defendant is informed and

                     18        believes that a reasonable opportunity for investigation and discovery will reveal, and on that basis

                     19        alleges, that Plaintiff failed to exercise reasonable care to mitigate her damages, if any, and thus

                     20        Plaintiff’s recovery from Defendant, if any, must be denied or reduced to the extent Plaintiff failed to

                     21        mitigate her damages.

                     22                                TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                     23                       27.      As a separate and distinct affirmative defense, Defendant alleges that any

                     24        recovery to which Plaintiff might otherwise allegedly be entitled must be offset, denied, or reduced by

                     25        any benefits, monies, and compensations that Plaintiff has received or will receive from any other

                     26        sources, including but not limited to disability and/or unemployment insurance, private insurance,

                     27        pension benefits, workers’ compensation, and any sums earned by Plaintiff in other employment.

                     28        ///
LITTLE R MEND ELSO N, P .C .
    5200 N orth Palm Avenue
           Suite 302
                                                                                    7.
    Fresno, CA 93704.2225
         559.244.7500
                                           Defendant’s General Denial and Affirmative Defenses to Plaintiff’s Unverified Complaint
                      Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 42 of 60 Page ID #:42



                        1                               TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                        2                     28.      As a separate and distinct affirmative defense, and without admitting that

                        3      Defendant employed Plaintiff, Defendant alleges that to the extent the Court may find that Plaintiff is

                        4      a qualified individual with a disability under the Americans with Disabilities Act and/or the Fair

                        5      Employment and Housing Act, and that there was an obligation to reasonably accommodate such

                        6      disability, all reasonably available accommodations were provided to Plaintiff, except those that were

                        7      unreasonable and/or would impose undue hardship.

                        8                                 TWENTY-NINTH AFFIRMATIVE DEFENSE

                        9                     29.      As a separate and distinct affirmative defense, Defendant alleges that Plaintiff’s

                     10        claims for damages are barred by the doctrine of set-off.

                     11                                      THIRTIETH AFFIRMATIVE DEFENSE

                     12                       30.      As a separate and distinct affirmative defense, Defendant alleges that if Plaintiff

                     13        suffered any emotional distress (which Defendant denies), Plaintiff contributed to her own emotional

                     14        distress, and by reason of her contribution, any remedy to which she might otherwise be entitled, must

                     15        be denied or reduced.

                     16                                    THIRTY-FIRST AFFIRMATIVE DEFENSE

                     17                       32.      As a separate and distinct affirmative defense, and without admitting that

                     18        Defendant employed Plaintiff, Defendant is informed and believes that a reasonable opportunity for

                     19        investigation and discovery will reveal, and on that basis alleges, that Plaintiff’s claims are barred by

                     20        her own breach of the duties imposed under all applicable state and federal laws, including but not

                     21        limited to California Labor Code sections 2854, 2856, 2858, and/or 2859.

                     22                                  THIRTY-SECOND AFFIRMATIVE DEFENSE

                     23                       33.      As a separate and distinct affirmative defense, Defendant alleges that the

                     24        Complaint and each cause of action set forth therein cannot be maintained against Defendant to the

                     25        extent Plaintiff initiated, intentionally induced, welcomed, voluntarily participated in, consented to,

                     26        and/or approved of the alleged acts or omissions, if any, on which Plaintiff now bases her causes of

                     27        action.

                     28        ///
LITTLE R MEND ELSO N, P .C .
    5200 N orth Palm Avenue
           Suite 302
                                                                                    8.
    Fresno, CA 93704.2225
         559.244.7500
                                           Defendant’s General Denial and Affirmative Defenses to Plaintiff’s Unverified Complaint
                      Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 43 of 60 Page ID #:43



                        1                                 THIRTY-THIRD AFFIRMATIVE DEFENSE

                        2                     34.     As a separate and distinct affirmative defense, Defendant alleges that Plaintiff’s

                        3      claims for injunctive relief fail because, since Plaintiff is no longer employed, Plaintiff lacks standing

                        4      to pursue injunctive relief.

                        5                                THIRTY-FOURTH AFFIRMATIVE DEFENSE

                        6                     35.     As a separate and distinct affirmative defense, Defendant alleges that Plaintiff’s

                        7      claims seeking recovery in the form of restitution or injunctive relief under California Business and

                        8      Professions Code section 17200, et seq., are barred with respect to any alleged violations that have

                        9      been discontinued, ceased, or are not likely to recur.

                     10                                 RESERVATION OF ADDITIONAL DEFENSES

                     11                       Defendant alleges that because the Complaint is couched in conclusory terms, all

                     12        affirmative defenses that may be applicable cannot be fully anticipated. Accordingly, the right to

                     13        assert additional affirmative defenses, if and to the extent that such affirmative defenses are applicable,

                     14        is reserved. In addition, Defendant reserves the right to amend this Answer should Defendant later

                     15        discover facts demonstrating the existence of new and/or additional affirmative defenses, and/or

                     16        should a change in the law support the inclusion of new and/or additional affirmative defenses.

                     17                                                     JURY DEMAND

                     18                       Defendant requests trial by jury on all causes of action triable to a jury.

                     19                                                          PRAYER

                     20                       WHEREFORE, DEFENDANT PRAYS FOR JUDGMENT AS FOLLOWS:

                     21                       1.      That Plaintiff takes nothing by the way of the Complaint on file herein;

                     22                       2.      That judgment be awarded in favor of Defendant;

                     23                       3.      That Plaintiff’s Complaint be dismissed in its entirety as to Defendant;

                     24                       4.      That Defendant be awarded all costs of suit incurred by it in this action;

                     25                       5.      That Defendant be awarded its reasonable attorneys’ fees; and

                     26                       6.      For such other and further relief as the Court may deem just and proper.

                     27        ///

                     28        ///
LITTLE R MEND ELSO N, P .C .
    5200 N orth Palm Avenue
           Suite 302
                                                                                    9.
    Fresno, CA 93704.2225
         559.244.7500
                                           Defendant’s General Denial and Affirmative Defenses to Plaintiff’s Unverified Complaint
                      Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 44 of 60 Page ID #:44



                        1      Dated: December 28, 2020

                        2

                        3
                                                                                         RYAN L. EDDINGS
                        4                                                                HYUN A. LEE
                                                                                         LITTLER MENDELSON, P.C.
                        5                                                                Attorneys for Defendant
                                                                                         FIRSTGROUP AMERICA, INC.
                        6

                        7      4834-1113-3909.1


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LITTLE R MEND ELSO N, P .C .
    5200 N orth Palm Avenue
           Suite 302
                                                                                      10.
    Fresno, CA 93704.2225
         559.244.7500
                                              Defendant’s General Denial and Affirmative Defenses to Plaintiff’s Unverified Complaint
                    Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 45 of 60 Page ID #:45



                     1                                          PROOF OF SERVICE

                     2                   I am a resident of the State of California, over the age of eighteen years, and not a
                           party to the within action. My business address is 5200 North Palm Avenue, Suite 302, Fresno,
                     3     California 93704.2225. On December 28, 2020, I served the within document(s):

                     4      DEFENDANT’S GENERAL DENIAL AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S
                                                  UNVERIFIED COMPLAINT
                     5

                     6                  By electronic service. Based on a court order or an agreement of the parties to
                                         accept electronic service, I caused the documents to be sent to the persons at the
                                         electronic service addresses listed below.
                     7

                     8
                                  Jihad M. Smaili, Esq.
                     9            SMAILI & ASSOCIATES, PC
                                  Civic Center Plaza Towers
                   10             600 W. Santa Ana Blvd., Suite 292
                                  Santa Ana, CA 92701
                   11             Tel: (714) 547-4700
                                  Fax (714) 547-4710
                   12
                                  Email: jihad@smaililaw.com
                   13

                   14

                   15                     I declare under penalty of perjury under the laws of the State of California that the
                           above is true and correct. Executed on December 28, 2020, at Fresno, California.
                   16

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LITTLER MENDELSON, P.C.
  5200 North Palm Avenue
         Suite 302
  Fresno, CA 93704.2225                                           PROOF OF SERVICE
       559.244.7500
Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 46 of 60 Page ID #:46




                     EXHIBIT “C”
     Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 47 of 60 Page ID #:47
           Electronically Filed by Superior Court of California, County of Orange, 11/12/2020 03:19:00 PM.
30-2020-01123040-CU-WT-CJC - ROA # 18 - DAVID H. YAMASAKI, Clerk of the Court By Kari Frumento, Deputy Clerk.

                                                                                                                                                       SUM-100
                                              SUMMONS                                                                           FOR COURT USE ONLY
                                                                                                                            (SOLO PARA USO DE LA CORTE)
                                    (CITACION JUDICIAL)

    NOTICE TO DEFENDANT:
   (AVISO AL DEMANDADO):
     FIRSTGROUP AMERICA, INC., a corporate entity form unknown; and DOES 1-50, indusive,


    YOU ARE BEING SUED BY PLAINTIFF:
   (LO ESTA DEMANDANDO EL DEMANDANTE):
    PAULA ROGERS, an individual;
     NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
     below.
        You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
    served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form If you want the court to hear your
     case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
     Online Self-Help Center (www.courtinfo.ca.goviselfhelp), your county law library, or the courthouse nearest you, If you cannot pay the filing fee, ask the
     court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
     be taken without further warning from the court.
        There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
     referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
     these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
   (www.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
    costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
    jAVISO! Lo han demandado. Si no responde dentro de 30 clias, la cotie puede decidir en su contra sin escuchar su version. Lea la informacion a
    continuacidn.
        Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citacion y papeles legates para presentar una respuesta pot escrito en este
    code y hacer que se entregue una copia al demandante. Una carta o una llamada telefOnica no lo protegen. Su respuesta pot escrito tiene que estar
    en formato legal correct° Si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
    Puede encontrar estos formularios de la code y mas informacion en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
    biblioteca de(eyes de su condado o en la code que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida at secretan'o de la code que
    le tIE un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso par incumplimiento y la code le podra
    guitar su sue/do, dinero y bienes sin mas advertencia.
        Hay otros requisitos legates. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un serviclo de
    mmisidn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
    programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sill° web de California Legal Services,
   (www.lawhelpcalifomiaorg), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov)6 poniendose en contacto con la code o at
    colegio de abogados locales. AVISO:Potley, la code tiene derecho a reclamar las cuotas y los costos exentos potimponer un gravamen sabre
    cualquler recuperaciOn de $10,000 6 mes de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
    pagar el gravamen de la carte antes de que la code pueda desechar el caso.
    The name and address of the court is:                                                                   CASE NUMBER:(Alumero del Caso):
   (El nombre y direcciOn de la carte es): CENTRAL JUSTICE CENTER
    700 Civic Center Drive West                                                                             30-2020-01123040-CU-WT-CJC
    Santa Ana, CA 92701                                                                                             J udge Layne H. Melzer
   The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcciOn y el nOmero
   de telefono del abogado del demandante, o del demandante que no tiene abogado, es): 714-547-4700;
   Jihad M. Smaili, Esq.; SBN: 262219; Civic Center Plaza Towers; 600W. Santa Ana Blvd., Suite 202; Santa Ana, CA 92701
    DATE:                                                                       Clerk, by                                                             , Deputy
                 11/12/2021:1                 David H. Yarnasaki. Clerk of the Court
   (Fecha)                                                                      (Secretario)                                                         (At:Onto)
   (For proof of service of this summons, use Proof of Service of Summons(form POS-010).)
   (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010).)                                     Kari Frumento
                                         NOTICE TO THE PERSON SERVED: You are served
                                         1.   I—I as an individual defendant.
                                        2. -
                                           1 1 as the person sued under the fictitious name of (specify):

                                        3.          on behalf of(specify):                                                                    Tne,
                                              under:          CCP 416.10 (corporation)                                CCP 416.60(minor)
                                                              CCP 416.20(defunct corporation)                         CCP 416.70(conservatee)
                                                       1---1 CCP 416.40(association or partnership)                   CCP 416.90 (authorized person)
                                                           other (specify):
                                        4.    I   I by personal delivery on (date)
                                                                                                                                                          Page 1 of 1
   Form Adopted for Mandatory Use
   Judicial Council of California
                                                                           SUMMONS                                              Code of Civil Procedure §§ 412 20, 465
                                                                                                                                                    www.courts.ca.gov
   SUM-100 Rev July 1, 2009
  Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 48 of 60 Page ID #:48
                 Electronically Filed by Superior Court of California, County of Orange, 01/09/2020 05:47:47 PM.
ZUZU-U1 1Z.31./4U-UU-VV I -L.Jt, - KOH IT 5 - UHVIU 11. T bkIVIHJI-MI, ulerk OT me t..,OUR tny rcoueri. merusuii, ueputyommo
     ATTORNEY OR_PARTY.yvatiourATMINE6e1(Name. State Bar number. and address):                                                      FOR COURT USE ONLY
   — Jihad M. Small', Esq.[26
    SMAILI & ASSOCIATES,PC
    Civic Center'Plaza Tqwers 600 W. Santa Ana Blvd., Suite 202
     Santa Ana, California.92701
            TELEPHONE NO.:     714-547-4700                      FAX NO:   714-547-4710
     ATTORNEY FOR (Name):      Paula Rogers
   SUPERIOR COURT OF CALIFORNIA,COUNTY OF        Orange
           STREET ADDRESS:     700 Civic Center Drive West
          MAILING ADDRESS:
          CITY AND ZIP CODE:    Santa Ana,CA 92701
  . .._ ...... ... BRANCH NAME: Central Justice Center
  • CASE NAME.;!
     PAULA ROGERS v. FIRSTGROUP AMERICA,INC., et at.
          'CIVIL CASE COVER SHEET                                    Complex Case Designation
                                                                                                                  CASE NUMBER:

     i   Unlimited         . Limited                                                         30-2020-01123040-CU-WT-CJC
        (Amount              (Amount                             Li
                                                           Counter              Joinder
                                                                                             JUDGE:
         demanded             demanded is           Filed with first appearance by defendant        Judge Layne H. M elzer
        exceeds $25,000). $25.,000 or less)..          (Cal. Rules . f Court,. rule 3.402).   DEPT:
                                                                                                  . ..
                                 Items 1:-6 below must be.coMpletedfseel.instructiOnS on page ?). •
  1.: Check one box below for the case type that best describes this case:
       Auto. Tort                                            Contract                                 Provisionally Complex Civil Litigation
               Auto (22)                                     ill Breach of contract/warranty (06)     (Cal. Rules of Court, rules 3.400-3.403)
      J
               Uninsured motorist(46)                        LII Rule 3.740 collections (09)          fl Antitrust/Trade regulation (03)
      Other PI/PD/ND (Personal Injury/Property                     - Other collections (09)              Construction defect(10)
      Damage/Wrongful Death) Tort                            LII Insurance coverage (18)              El Mass tort(40)
      I     Asbestos(04)                                     Li Other contract(37)                    -
                                                                                                      1 1Securities litigation (28)
      Lii Product liability(24)                              Real. Property                           .1-1 Environmental/Toxic tort(30)
      Li Medical malpractice (45)                                   Eminent domain/Inverse            El        Insurande CoVdrage claims arising from the
               Other Pl/PDNVD (23)                                . condemnation (14)                         ' above Iwo prevlsionally complex case
                                                                    Wrongful eviction (33)                      types(4.1)'
       Non-PUPDAND(other) Tort
      Li Business tOrthirifal(.b.usIness practice(07) Lii Other real property (26)                     Enforcement of Judgment
      111111 Civil rights(08)                         Unlawful Detainer                                       1   Enforcement ofjudgment(20)
               Defamation (13)                               I       Commercial(31)                   .Miscellaneous Civil Complaint
      ELI. Fraud (16)                                        Lii     Residential (32)                             RICO (27)
               Intellectual property (19)                            Drugs(38)                        LIII Other complaint (not specified above)(42)
     I.      . Professional negligence (25)                  Judicial Review                           Miscellaneous Civil Petition
     Lii   Other non-PI/PD/WD tort(35)                              Asset forfeiture (05)
                                                                                                                Partnership and corporate governance(21)
      Employment                                             Liii Petition re: arbitration award (11) .1r---ti. Other petition (not specified above)(43)
       1 Wrongful termination (36).                          El   Writ of mandate (02)
              Other employment(15)                                I Other judicial review (39)
 2. This case            is    L Il ls not :complex under rule 3.400 of the California Rules of Court, If the case is complex, mark the
      factors requiring exceptional judicial management:
      a.  El.  Large number of separately represented parties       d. 1 1        number of witnesses
      b.  El   Extensive motion practice raising difficult or novel e.             1 1 Coordination
                                                                                         with 'related actions pending in one or more courts
               issues that will be time-consuming to resolve               in other counties, states; or countries, or in a federal court
      c. E::] Substantial amount of documentary evidence            f. ETI Substantial postjudgment judicial supervision
3.   Remedies sought(check all that apply): an monetary b.fi nonmonetary; declaratory or injunctive relief                                               c.[71punitive
4.   Number of causes of action (specify): 9
5.   This case Ti is                -
                                    1 1
                                 is not a class action suit.
6.   If there are any known related cases, file and serve a notice of related case.(You may
 Date: January 9, 2019
Jihad M. Smaili, Esq.
                               '(*TY.P.E.OR PRINT NAME).                                            .(SiGNA       E O5ftR1Y ORATTORNEY FOR PARTY)
                                                                      NOTICE'
 • Plaintiff must file this cover sheet with the first paper filed in the actioh or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes (Silty..
                                                                                                                                     'P15 t ofl
Form Adopted for Mandatory Use
  Judicial Council of California
                                                             CIVIL CASE COVER SHEET                                  Cal. Rules of court rules 230.3.40,3.4004403,3,740:
                                                                                                                             Cal, Standards of 1,4081.Atdrritris1calipri; 4id. 3.10
  CM-010(Rey. July 1, 20071
  Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 49 of 60 Page ID #:49

                                                                                                                                      CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
 To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
 complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
 statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the_sheet. In item 1, you must check
 one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
 check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
 To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
 sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
 its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
 To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
 owed in a.sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
 whichpi-Operfy,.seiviCes, or friaiiii-was acquiFed -a—credit A 611Ictions case does not inclirde- an action seeking th-616116Tking:-(1)to-rt
 damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
 attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
 time-for--saatiCe-rectuirements-and casr- PlarlaOarnpnt ruIps, tinIpcc a riafParlartt fileS regponcive pleading A rule '1 740 nollectiong
 case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
 To Parties in Complex Cases. In complex case's only, parties must also use the Civil Case Cover Sheet to designate whether the
 case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
 plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
      Auto(22)—Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
           DamageNVrongful Death                          Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
      Uninsured Motorist(46)(if the                            Contract(not unlawful detainer             Construction Defect(10)
           case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort(40)
           motorist claim subject to                      Contract/Warranty Breach—Seller                 Securities Litigation (28)
           arbitration, check this item                        Plaintiff(not fraud or negligence)         Environmental/Toxic Tort(30)
           instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                               Warranty                                       (arising from provisionally complex
Property Damage/WrongfUlDeath)                            Other Breach-of-Contract/Warranty                   case-typefisted-ebove)-(41).- •
Tort                                                 Collections (e.g., money owed, open              Enforcement of Judgment
      Asbestos (04)                                       book accounts)(09)                              Enforcement of Judgment(20)
          Asbestos Property Damage                        Collection Case—Seller Plaintiff                    Abstract of Judgment(Out of
                                                          Other Promissory Note/Collections                        County)
           Asbestos Personal Injury/
                Wrongful Death                                 Case                                           Confession of Judgment (non-
                                                     !nsurance Coverage (not p.rovisio.nally                       dcmsrStic reLerions)
      Product Liability (nor asbestos or
                                                          :0/rtplex,l (18)                                    Sister State judgment
          ioxicienvironmenial)(24)
      Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice—                            Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons                Other Contract(37)                                       Petition/Certification of Entry of
          Other Professional Health Care                  Contractual Fraud                                      Judgment on Unpaid Taxes
                M alpractice                             Other Contract Disputo                               Other Enforcement of Judgment
                                                 Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip •           Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                and fall)                                 Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WD            Wrongful Eviction (33)                               Other Complaint(not specified
                                                                                                         .    above)(42)
               (e.g., assault, vandalism)            Other Real Property (e.g.. quiet title)(26)
          Intentional Infliction of                                                                           Declaratory Relief Only
                                                          Writ of Possession of Real Property                 Injunctive Relief Only (non-
                Emotional Distress                        Mortgage Foreclosure
                      Infliction of                                                                                harassment)
          Negligent                                       Quiet Title.
                Emotional Distress                                                                            Mechanics Lien
                                                          Other Real Property (not eminent
       • Other PUPD/WD                                                                                        Other Commercial Complaint
                                                          domain, landlord/tenant, or
                                                          foreclosure)                                             Case (non-tort/non-complex)
Non-PUPD/WD (Other)Tort                                                                                       Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer                                                (non-tort/non-complex)
         Practice (07)                               Commercial(31)
                                                                                                      Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,             Residential (32)                                     Partnership and Corporate
         false arrest)(not civil                     Drugs(38)(if the case involves illegal                   Governance (21) •
          harassment)(08)                                 drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander,     libel)               report as Commercial or Residential)                 above)(43)
          (13)                                   Judicial Review                                              ClvIl Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
    Professional Negligence(25)                      Writ of Mandate (02)                                          Abuse
         Legal Malpractice                                Writ—Administrative Mandamus                        Election Contest
         Other Professional Malpractice                   Writ—Mandamus on Limited Court                      Petition for Name Change
            ( not medical or legal)                           Case Matter                                     Petition for Relief From Late
     Other Non-PI/PD/WD Tort(35)                         Writ—Other Limited Court Case                             Claim
Employment                                                    Review                                          Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment(15)                                 Review of Health Officer Order
                                                          Notice of Appeal—Labor
                                                             Commissioner Appeals
CM-010(Rev, July 1, 2007)                                                                                                               Page 2 of 2'
                                                     CIVIL CASE COVER SHEET
Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 50 of 60 Page ID #:50




                     EXHIBIT “D”
                      Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 51 of 60 Page ID #:51



                        1       RYAN L. EDDINGS, Bar No. 256519
                                HYUN A. LEE, Bar No. 328220
                        2       LITTLER MENDELSON, P.C.
                                5200 North Palm Avenue, Suite 302
                        3       Fresno, California 93704.2225
                                Telephone: 559.244.7500
                        4       Facsimile.: 559.244.7525
                                Email:        reddings@littler.com
                        5                     halee@littler.com

                        6
                                Attorneys for Defendant
                        7       FIRSTGROUP AMERICA, INC.

                        8
                                                                SUPERIOR COURT OF CALIFORNIA
                        9
                                                                         COUNTY OF ORANGE
                     10
                               PAULA ROGERS, an individual,                           Case No. 30-2020-01123040-CU-WT-CJC
                     11
                                                   Plaintiff,                         DEFENDANT FIRSTGROUP AMERICA,
                     12                                                               INC.’S NOTICE TO PLAINTIFF OF
                                      v.                                              REMOVAL OF CIVIL ACTION TO
                     13                                                               FEDERAL COURT
                               FIRSTGROUP AMERICA, INC., a
                     14        corporate entity form unknown; and DOES                Federal Court Case No.
                               1-50, inclusive,
                     15                                                               Assigned For All Purposes to Judge Layne H.
                                                   Defendants.                        Melzer
                     16
                                                                                      Trial Date: TBD
                     17                                                               Complaint Filed: January 9, 2020

                     18

                     19                       TO PLAINTIFF AND TO PLAINTIFF’S COUNSEL OF RECORD:

                     20                       PLEASE TAKE NOTICE that on December 31, 2020, Defendant FIRSTGROUP

                     21        AMERICA, INC. (“Defendant”), filed a Notice of Removal pursuant to 28 U.S.C. §§ 1332, 1441, and

                     22        1446, in the United States District Court for the Central District of California. A true and correct copy

                     23        of Defendant’s Notice of Removal is attached hereto as Exhibit 1.

                     24        ///

                     25        ///

                     26        ///

                     27        ///

                     28        ///
LITTLE R MEND ELSO N, P .C .
    5200 N orth Palm Avenue
           Suite 302
    Fresno, CA 93704.2225
         559.244.7500
                                      Defendant FirstGroup America, Inc.’s Notice to Plaintiff of Removal of Civil Action to Federal Court
                      Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 52 of 60 Page ID #:52



                        1       Dated: December 31, 2020

                        2

                        3
                                                                                            RYAN L. EDDINGS
                        4                                                                   HYUN A. LEE
                                                                                            LITTLER MENDELSON, P.C.
                        5                                                                   Attorneys for Defendant
                                                                                            FIRSTGROUP AMERICA, INC.
                        6      4846-1222-8053.1 070993.1178

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LITTLE R MEND ELSO N, P .C .
    5200 N orth Palm Avenue
           Suite 302
                                                                                       2.
    Fresno, CA 93704.2225
         559.244.7500
                                        Defendant FirstGroup America, Inc.’s Notice to Plaintiff of Removal of Civil Action to Federal Court
                    Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 53 of 60 Page ID #:53



                     1                                          PROOF OF SERVICE

                     2                   I am a resident of the State of California, over the age of eighteen years, and not a
                           party to the within action. My business address is 5200 North Palm Avenue, Suite 302, Fresno,
                     3     California 93704.2225. On December 31, 2020, I served the within document(s):

                     4      DEFENDANT FIRSTGROUP AMERICA, INC.’S NOTICE TO PLAINTIFF OF REMOVAL
                                            OF CIVIL ACTION TO FEDERAL COURT
                     5

                     6                  By electronic service. Based on a court order or an agreement of the parties to
                                         accept electronic service, I caused the documents to be sent to the persons at the
                                         electronic service addresses listed below.
                     7

                     8
                                  Jihad M. Smaili, Esq.
                     9            SMAILI & ASSOCIATES, PC
                                  Civic Center Plaza Towers
                   10             600 W. Santa Ana Blvd., Suite 292
                                  Santa Ana, CA 92701
                   11             Tel: (714) 547-4700
                                  Fax (714) 547-4710
                   12
                                  Email: jihad@smaililaw.com
                   13

                   14

                   15                     I declare under penalty of perjury under the laws of the State of California that the
                           above is true and correct. Executed on December 31, 2020, at Fresno, California.
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LITTLER MENDELSON, P.C.
  5200 North Palm Avenue
         Suite 302
  Fresno, CA 93704.2225                                           PROOF OF SERVICE
       559.244.7500
Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 54 of 60 Page ID #:54




                     EXHIBIT “E”
                      Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 55 of 60 Page ID #:55



                        1       RYAN L. EDDINGS, Bar No. 256519
                                HYUN A. LEE, Bar No. 328220
                        2       LITTLER MENDELSON, P.C.
                                5200 North Palm Avenue, Suite 302
                        3       Fresno, California 93704.2225
                                Telephone: 559.244.7500
                        4       Facsimile.: 559.244.7525
                                Email:        reddings@littler.com
                        5                     halee@littler.com

                        6
                                Attorneys for Defendant
                        7       FIRSTGROUP AMERICA, INC.

                        8
                                                                 SUPERIOR COURT OF CALIFORNIA
                        9
                                                                          COUNTY OF ORANGE
                     10
                               PAULA ROGERS, an individual,                           Case No. 30-2020-01123040-CU-WT-CJC
                     11
                                                   Plaintiff,                         DEFENDANT FIRSTGROUP AMERICA,
                     12                                                               INC.’S NOTICE TO STATE COURT OF
                                      v.                                              REMOVAL OF CIVIL ACTION TO
                     13                                                               FEDERAL COURT
                               FIRSTGROUP AMERICA, INC., a
                     14        corporate entity form unknown; and DOES                Federal Court Case No.
                               1-50, inclusive,
                     15                                                               Assigned For All Purposes to Judge Layne H.
                                                   Defendants.                        Melzer
                     16
                                                                                      Trial Date: TBD
                     17                                                               Complaint Filed: January 9, 2020

                     18

                     19                        TO THE CLERK OF THE ABOVE-TITLED COURT:

                     20                        PLEASE TAKE NOTICE that on December 31, 2020, the above-captioned matter was

                     21        removed from the Superior Court of the State of California, County of Orange, where it was previously

                     22        pending, to the United States District Court for the Central District of California, pursuant to 28 U.S.C.

                     23        §§ 1332, 1441, and 1446. A copy of the Notice of Removal filed by Defendant FIRSTGROUP

                     24        AMERICA, INC. is attached hereto as Exhibit 1.

                     25                        PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1446(d), the filing

                     26        of a Notice of Removal in the United States District Court, together with the filing of a copy of a

                     27        Notice of Filing Notice of Removal with this Court, effects the removal of this action, and this Court

                     28        may proceed no further unless and until the case is remanded.
LITTLE R MEND ELSO N, P .C .
    5200 N orth Palm Avenue
           Suite 302
    Fresno, CA 93704.2225
         559.244.7500
                                     Defendant FirstGroup America, Inc.’s Notice to State Court of Removal of Civil Action to Federal Court
                      Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 56 of 60 Page ID #:56



                        1      Dated: December 31, 2020

                        2

                        3
                                                                                         RYAN L. EDDINGS
                        4                                                                HYUN A. LEE
                                                                                         LITTLER MENDELSON, P.C.
                        5                                                                Attorneys for Defendant
                                                                                         FIRSTGROUP AMERICA, INC.
                        6
                               4814-7377-4549.1 070993.1178
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LITTLE R MEND ELSO N, P .C .
    5200 N orth Palm Avenue
           Suite 302
                                                                                       2.
    Fresno, CA 93704.2225
         559.244.7500
                                      Defendant FirstGroup America, Inc.’s Notice to State Court of Removal of Civil Action to Federal Court
                    Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 57 of 60 Page ID #:57



                     1                                          PROOF OF SERVICE

                     2                   I am a resident of the State of California, over the age of eighteen years, and not a
                           party to the within action. My business address is 5200 North Palm Avenue, Suite 302, Fresno,
                     3     California 93704.2225. On December 31, 2020, I served the within document(s):

                     4     DEFENDANT FIRSTGROUP AMERICA, INC.’S NOTICE TO STATE COURT OF REMOVAL
                                            OF CIVIL ACTION TO FEDERAL COURT
                     5

                     6                  By electronic service. Based on a court order or an agreement of the parties to
                                         accept electronic service, I caused the documents to be sent to the persons at the
                                         electronic service addresses listed below.
                     7

                     8
                                  Jihad M. Smaili, Esq.
                     9            SMAILI & ASSOCIATES, PC
                                  Civic Center Plaza Towers
                   10             600 W. Santa Ana Blvd., Suite 292
                                  Santa Ana, CA 92701
                   11             Tel: (714) 547-4700
                                  Fax (714) 547-4710
                   12
                                  Email: jihad@smaililaw.com
                   13

                   14

                   15                     I declare under penalty of perjury under the laws of the State of California that the
                           above is true and correct. Executed on December 31, 2020, at Fresno, California.
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                   27

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LITTLER MENDELSON, P.C.
  5200 North Palm Avenue
         Suite 302
  Fresno, CA 93704.2225                                           PROOF OF SERVICE
       559.244.7500
Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 58 of 60 Page ID #:58




                     EXHIBIT “F”
Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 59 of 60 Page ID #:59




                            Quick Notes Page 2
Case 8:20-cv-02449-CJC-JDE Document 1 Filed 12/31/20 Page 60 of 60 Page ID #:60




                            Quick Notes Page 3
